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              1   UNITED STATES DISTRICT COURT

              2   MIDDLE DISTRICT OF FLORIDA

              3   ORLANDO DIVISION

              4

              5   JEAN DECARLO 22-CV-1596-RMN

              6   MYRNA PINEIRO 22-CV-1574-RMN

              7   KIMBERLY GOUDE 22-CV-1511-RMN, ET AL,

              8   PLAINTIFF,

              9

            10    V.

            11

            12    EMERGE HEALTHCARE GROUP, LLC

            13    FCID MEDICAL, INC.

            14    FIRST CHOICE MEDICAL GROUP OF BREVARD, LLC

            15    FIRST CHOICE HEALTHCARE SOLUTIONS, INC. AND

            16    LANCE FRIEDMAN, INDIVIDUALLY,

            17    DEFENDANT.

            18    ________________________________________/

            19    VIDEOCONFERENCE DEPOSITION OF LANCE FRIEDMAN, EMERGE

            20    HEALTHCARE GROUP, LLC

            21    DATE:        JUNE 13, 2023

            22    REPORTER:    JESSICA ETHRIDGE

            23    PLACE:       ALL PARTIES TO APPEAR VIA VIDEOCONFERENCE

            24

            25
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    1                             APPEARANCES

    2 ON BEHALF OF THE PLAINTIFFS, JEAN DECARLO, MYRNA
      PINEIRO, KIMBERLY GOUDE, ET AL:
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   14 (Appeared via videoconference)

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    1                             STIPULATION

    2

    3 The Rule 30(b)(6) videoconference deposition of Lance

    4 Friedman, Corporate Representative of Emerge Healthcare

    5 Group, taken remotely on Tuesday the 13th day of June

    6 2023 at approximately 10:02 a.m.; said deposition was

    7 taken pursuant to Rule 30(b)(6) of the Federal Rules of

    8 Civil Procedure.

    9

   10 It is agreed that Jessica Ethridge, being a Notary

   11 Public and Court Reporter for the State of Florida, may

   12 swear the witness and that the reading and signing of

   13 the completed transcript by the witness is not waived.

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    1                     PROCEEDINGS

    2             THE REPORTER:     Okay.    We're now on record. Will

    3       all parties except for the witness, please state

    4       your name, your appearance, and your location

    5       starting with Plaintiff's Counsel?

    6             MR. WOOD:     Joseph Wood on behalf of the

    7       plaintiffs.

    8             MR. HENDERSON:      James Henderson here on behalf

    9       of the defendants.

   10             MR. WOOD:     And I've got Mauricio Arcadier here

   11       with me.     He's on mute at the moment, but he's my

   12       partner, head attorney for Evelyn Bonilla.           We had

   13       changed the notice to remove her as one of the

   14       noticing parties, but he's here to observe.

   15             THE REPORTER:     Okay.    Thank you so much.      And

   16       Mr. Friedman, would you please state your full name

   17       for the record and hold your ID up to the camera?

   18             THE WITNESS:     Lance Friedman.

   19             THE REPORTER:     Would you -- would you mind

   20       putting it back up?       I'm sorry.    It just -- it had a

   21       little bit of a glare, so I didn't see your name.

   22       Thank you.     Do both parties agree that the witness

   23       is in fact Lance Friedman?

   24             MR. WOOD:     It appears that way.

   25             MR. HENDERSON:      Agreed.
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    1                THE REPORTER:     All right.   Thank you so much.

    2       Mr. Friedman, would you please raise your right

    3       hand? Do you solemnly swear or affirm that the

    4       testimony you're about to give will be the truth,

    5       the whole truth, and nothing but the truth?

    6                THE WITNESS:     Yes.

    7                THE REPORTER:     All right.   You may begin.

    8                         DIRECT EXAMINATION

    9                 BY MR. WOOD:

   10         Q.      Mr. Friedman, good morning.      My name is Joseph

   11 Wood.        I represent a number of employees who previously

   12 worked for First Choice Healthcare Group, now Emerge

   13 Healthcare companies that you run.            They filed lawsuits

   14 against the company and yourself for unpaid wages as

   15 well as issues regarding the ERISA, FLSA, Fair Minimum

   16 Wage Act.        Before I get into the depo, I typically over

   17 some -- go over some instructions.            Am I right, you are

   18 a -- an attorney?

   19         A.      I'm not a practicing attorney.      I'm no longer

   20 a member of the bar because I haven't done my CLE

   21 credits.

   22         Q.      Okay.     You -- in the past, have you gone

   23 through depositions?

   24         A.      Sure.

   25         Q.      Okay.     As you know, I'm going to ask you some
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    1 questions about the lawsuits.          We need a clean record,

    2 so we'll try not to speak over each other.             If you don't

    3 understand a question that I've got, if I've asked you,

    4 please let me know.        If you don't hear something, let me

    5 know, I will repeat it.         If you need a break, please let

    6 me know.     We'll try to get breaks in about every hour if

    7 we need it.      And that's about it.       Do you understand the

    8 instructions so far?

    9        A.    Yes.

   10        Q.    All right.     Before we get into the nuts and

   11 bolts, can you give me a little bit of your background?

   12        A.    My background is that I've typically worked

   13 for investment firms, family offices and ran investment

   14 banking departments for various broker dealers and

   15 firms.      And halfway through my career, I basically go

   16 into trouble companies and I work primarily on success

   17 fees to take them through reorganizations, help them

   18 raise capital and try to resurrect their business plan.

   19        Q.    And as far as the companies that are at issue

   20 in this lawsuit, are you under a success fee arrangement

   21 with those?

   22        A.    I am not a shareholder.        I'm uncompensated and

   23 until we are able to file an S1 registration statement,

   24 which would be commonly be called, you know, for people

   25 layman, and you know, an IPO while this company is a
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    1 public company before reporting public company and later

    2 was a pink sheet company, non-reporting other than some

    3 OTC disclosures.        We have not for various reasons, been

    4 able to file an S1 registration statement, but

    5 anticipate doing so in the next 20 to 30 days.               So the

    6 answer is that -- that is the answer.

    7         Q.      Now, you mentioned that you're uncompensated;

    8 is that correct?

    9         A.      That is correct.

   10         Q.      Have you not received any pay from the

   11 defendants?

   12         A.      I have not received pay in terms of

   13 compensation.         I have received on loans from time to

   14 time.        I've helped the company with I've gotten

   15 repayment on some of them.          I think currently, even

   16 under my contract, I'm owed some eight, $900,000.

   17         Q.      And did you receive repayment of these loans

   18 during the bankruptcy proceedings?

   19         A.      No.

   20         Q.      And did you receive pay after the bankruptcy

   21 proceedings?

   22         A.      No, I'm owed 800,000 and change.

   23         Q.      What other companies are you associated with

   24 other than the defendants?

   25         A.      Many companies.    I'm a shareholder, and I -- I
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    1 don't have a list of them.

    2         Q.    All right.     Do you own yourself own any other

    3 companies?

    4         A.    Individually?

    5         Q.    Yeah.

    6         A.    I just have a consulting arm that I use.

    7         Q.    Is that Blackstone Capital Advisors?

    8         A.    Yes.

    9         Q.    And have the defendants paid Blackstone

   10 Capital Advisors in any way?

   11         A.    No.     Blackstone has loaned considerable money

   12 to the company and has paid some of it, but not all of

   13 it back post-bankruptcy.

   14         Q.    All right.     Let's go through the companies and

   15               I'm going to go through some of the

   16 allegations and the complaints.           Before we go there, let

   17 me know: Have you reviewed the complaints that have been

   18 filed in these cases?

   19         A.    Cursory, not very much.

   20         Q.    Okay.     There was an answer that was filed on

   21 behalf of the companies and yourself.             Did you

   22 participate in the answering of that complaint or filing

   23 of that answer?

   24         A.    I reviewed them back, you know, way back when.

   25         Q.    Okay.     And you agreed with the admissions or
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     1 denials at that time?

     2         A.    I don't recollect any of them now, but --

     3              MR. HENDERSON:     I just want to pose an

     4       objection, attorney-client privilege.            But if you

     5       can answer without divulging any information or

     6       conversations that you've had with your attorney,

     7       you can go ahead and try to do so, Mr. Friedman.

     8         A.    I -- I -- yeah, I -- I don't recollect --

     9               BY MR. WOOD:

    10         Q.    Okay.

    11         A.    -- the answers -- the answer to the complaint

    12 right now and I don't -- I don't remember what I may or

    13 may not have commented on to the defendant's attorneys.

    14         Q.    Okay.   And we previously discussed that you

    15 were an attorney at least.          What states are you licensed

    16 in?

    17         A.    I'm not licensed.      I passed the Florida Bar in

    18 the '80s, I guess, or early '90s.            And for a very short

    19 time before I went in-house on a banking deal was

    20 associated with a firm.

    21         Q.    Okay.   And you've not practiced law since the

    22 '90s?

    23         A.    No.

    24         Q.    And when you did practice, what was your area

    25 of practice?
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     1         A.    Securities and corporate transactions.

     2         Q.    Okay.   Let's go through the defendants' First

     3 Choice Healthcare Solutions Incorporated.              They are a

     4 Delaware none -- or Delaware for-profit company,

     5 correct?

     6         A.    Correct.

     7         Q.    And where is the principal address of the

     8 company?

     9         A.    Currently, it's 95 Bulldog Boulevard, Suite

    10 202, Melbourne, Florida 32901.

    11         Q.    And what is your role at First Choice

    12 Healthcare Solutions Incorporated?

    13         A.    I was employed by the shareholder by the board

    14 through the shareholders to assist the company through a

    15 bankruptcy and a reorganization as well as to try to

    16 resurrect the company's operations, help raise capital

    17 and re-list the company on -- on NASDAQ as some other

    18 exchange.

    19         Q.    You're the CEO of the company, right?

    20         A.    That's correct.

    21         Q.    And as CEO, what are your duties?

    22         A.    To raise capital.      My -- my -- my specific CEO

    23 duties were to raise capital and reorganize the company

    24 and to resurrect operations.

    25         Q.    Okay.   And in order to resurrect operations,
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     1 what did you do?

     2         A.    We raised capital.

     3         Q.    Okay.   Are those two of the same things then?

     4 You mentioned raising capital was one duty and

     5 resurrecting the operations?

     6         A.    Well, that was done through reorganization

     7 under Subchapter, pursuant to Subchapter 5, Chapter 11.

     8 Without doing that, it was impossible to resurrect any

     9 operations.

    10         Q.    Okay.

    11         A.    Because they went into a free fall, the

    12 company had prior to the Chris Romandetti incident, had

    13 34, $35 million of revenue, and it came right down to,

    14 you know, a million-and-a-half dollars with a massive

    15 infrastructure.

    16         Q.    And the Chris Romandetti issue discussed, he

    17 was the prior CEO who was charged with securities fraud,

    18 correct?

    19         A.    He was the prior CEO and founder and principal

    20 shareholder, yes.

    21         Q.    And he's been sentenced to charges related to

    22 securities fraud with -- as it pertains to this company,

    23 right?

    24         A.    Six months.

    25         Q.    Yeah.   What does First Choice Healthcare
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     1 Solutions do?

     2         A.    Now it does basically nothing other than some

     3 minor PT operations.

     4         Q.    Okay.    The lawsuits that we've brought pertain

     5 to employees, primarily the timeframe we're focused on

     6 is November of 2021 through the end of their tenures,

     7 which changes.        During that timeframe, what was First

     8 Choice Healthcare Solutions doing?            What did it do?

     9         A.    We were doing various aspects of orthopedics.

    10 We did hire a lot of surgeons and other doctors to do

    11 surgeries, interventional care, physical therapy,

    12 occupational therapy, pain management, and the like,

    13 which was to generate revenues to employ the ancillary

    14 employees that supported that orthopedic infrastructure,

    15 service infrastructure.

    16         Q.    Okay.    But First Choice Healthcare Solutions

    17 did not directly employ these people; is that right?

    18         A.    Well, that's a holding company.          It's First

    19 Choice Medical Group -- First Choice Medical Group of

    20 Brevard, LLC.

    21         Q.    Okay.    So First Choice --

    22         A.    And I -- and -- and I think, although I don't

    23 know who it would be, I think there are some FCID, Inc.

    24               employees, I think it was split between those

    25 two companies.
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     1         Q.    And we're going to get into those as well.

     2 But the operations of First Choice Healthcare Solutions,

     3 it's done through its subsidiaries, correct?

     4         A.    My understanding is it is, although I -- I --

     5 I'm not sure.         It might be something that the CFO is --

     6 is better educated than I am on it, exactly -- exactly

     7 how those things are operated through its structure.

     8         Q.    And FCID Medical Incorporated, that's a

     9 Florida for-profit company, correct?

    10         A.    To the best of my knowledge, I've never

    11 checked.

    12         Q.    And the principle list of business is the same

    13 as Health -- sorry, First Choice Healthcare Solutions at

    14 95 Bulldog?

    15         A.    I don't know.     I don't know what its business

    16 function is.       I think it holds some assets and some

    17 employees, but specifically, I have no idea.

    18         Q.    Okay.    Sitting here today, does FCID Medical

    19 do anything?

    20         A.    I -- I don't know.

    21         Q.    Okay.    Now FCID Medical is wholly owned by

    22 First Choice Healthcare Solutions, right?

    23         A.    That's correct.

    24         Q.    It's a subsidiary --

    25         A.    That's correct.
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     1         Q.      And therefore it's an asset of the company,

     2 right?

     3              MR. HENDERSON:     Objection.     Form.    Answer it

     4        again.

     5         A.      I don't know what value FCID has at all at

     6 this time.

     7                 BY MR. WOOD:

     8         Q.      Okay.   Sitting here today, does it have any

     9 employees?

    10         A.      I don't think so.    No.

    11         Q.      Any revenues?

    12         A.      No, not that I'm aware of.

    13         Q.      Do you know what -- I didn't mean to cut you

    14 off.     Sorry.

    15         A.      No, not that I'm aware of.       I believe there

    16 are no employees at the -- the company at this time.

    17         Q.      Okay.   During your --

    18         A.      Yeah.

    19         Q.      -- tenure with the companies here, did at one

    20 point FCID have employees?

    21         A.      I believe so, yes.

    22         Q.      Okay.   And there became a point where those

    23 employees transitioned to one of the other subsidiaries

    24 of First Choice?

    25         A.      I don't know.   I'm not aware.
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     1         Q.    Okay.   And what is your role at FCID Medical?

     2         A.    I don't believe I have any other than trying

     3 to, as I mentioned, list First Choice Healthcare

     4 Solutions on a fully reporting nationally listed

     5 exchange and to acquire businesses that would help

     6 shareholder value and -- and -- and -- and try to move

     7 the company forward in a positive direction.

     8         Q.    We had briefly discussed First Choice Medical

     9 Group of Brevard, that is an LLC out of Delaware,

    10 correct?

    11         A.    I don't know.     It -- it may be.       I think it

    12 might be a Florida LLC.

    13         Q.    Okay.   And the Medical Group of Brevard, that

    14 is wholly owned by FCID, correct?

    15         A.    That's correct.

    16         Q.    Okay.   And FC -- the medical group does

    17 operate, correct?

    18         A.    Well, the medical group at this time, its only

    19 operation is through to 1099 part-time physical

    20 therapists.

    21         Q.    And the revenues that those therapists

    22 produce, does that flow through FCID and then up into

    23 First Choice Healthcare Solutions?

    24         A.    Yeah, I -- I don't know.        I'm not aware.      I

    25 don't handle any of the financial aspects of the
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     1 company, how they book revenue, where they send it and

     2 how it's collected.         My -- my understanding would be

     3 since insurance pays, it would probably be First Choice

     4 Medical Group of Brevard would actually be the payee and

     5 from where the money goes from there, I have no idea.

     6         Q.    Okay.     And you are the managing member of that

     7 LLC, correct?

     8         A.    I'm a sole member representative for that

     9 company, yes.         I'm not the managing member.       I think I'm

    10 the managing -- I'm the manager so that, you know,

    11 corporate actions can be directed from there.

    12         Q.    There's no other members, though?

    13         A.    Not that I'm aware of.

    14         Q.    And back in 2020 First Choice, FCID, the

    15 Medical Group, they filed Chapter 11 bankruptcy,

    16 correct?

    17         A.    I believe in June 15th of 2020, the prior

    18 board and interim CEO filed a bankruptcy action through

    19 Subchapter 5, Chapter 11, yes.

    20         Q.    Okay.     And those bankruptcy proceedings were

    21 jointly administered, right?

    22         A.    Yes.

    23         Q.    Do you know why?

    24         A.    Yes.     Revenues -- they couldn't meet their

    25 obligations.         Their revenues had decreased from 34
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     1 million rapidly down to minimal revenue.

     2         Q.    And I understand maybe that might be the

     3 reason why they filed bankruptcy, but I'm asking why

     4 they -- why the actions were jointly administered?

     5              MR. HENDERSON:     Objection.     Form.

     6         A.    I have no idea about the action.           I don't know

     7 what the strategic thinking is.

     8               BY MR. WOOD:

     9         Q.    And they had a joint plan of reorganization,

    10 correct?

    11         A.    Yes.

    12         Q.    And that was confirmed back in February of

    13 '21?

    14         A.    The plan was confirmed February 22 of '21.

    15 And the actual exit I believe was, like, April 22nd of

    16 '22.

    17         Q.    Were you involved with these companies at that

    18 time?

    19         A.    Not at the time of the filing.           I only helped

    20 to get through the reorganization after it was filed.

    21 And the shareholder action through a 13-D action gave

    22 shareholders control, prior board resigned, a new board

    23 was elected, and I was appointed CEO.

    24         Q.    And so you were CEO prior to the confirmation

    25 in February of '21?
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     1         A.    That's correct.

     2         Q.    Okay.    And after the reorganization plan was

     3 confirmed, the entities decided to rebrand as Emerge

     4 Healthcare; is that right?

     5         A.    As -- as a name, yes, Emerge Healthcare.

     6 That's right.

     7         Q.    Okay.    And so all of the facts to give rise to

     8 the lawsuits we're talking about today, they take place

     9 after the confirmation of the bankruptcy petitions.                Is

    10 that your understanding?

    11         A.    Yes.

    12         Q.    Okay.    And so all of the actions that -- at

    13 issue here really are during a time where the companies

    14 had rebranded as Emerge Healthcare; would you agree?

    15         A.    The actions -- all these actions to the best

    16 of my knowledge without any investigation, I believe

    17 have taken place from a timeline post -- post-

    18 confirmation - post-exit approval of the plan in April

    19 22, 2022.

    20         Q.    And at that time, the entities were doing

    21 business as Emerge Healthcare?

    22         A.    No.     I mean, it was a trade name for marketing

    23 purposes only.        The companies were still doing business

    24 under First Choice Healthcare Solutions, First Choice

    25 Medical Group of Brevard.          We never changed any of those
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     1 corporate entities names.          I know they filed for an LLC,

     2 but the LLC never had a bank account, was never used.                  I

     3 don't believe I'm even -- I -- I -- I -- I wouldn't

     4 know.        I -- I -- I -- I never signed anything to be a

     5 member of it, but the intention was just to use it as a

     6 -- a branding name to try to get away from obviously the

     7 bankruptcy and the criminal conduct of the prior founder

     8 and CEO who was also a principal shareholder.

     9         Q.      Okay.   And there is an Emerge Healthcare Group

    10 LLC, which is a formed Florida limited liability

    11 company.        Do you agree with me?

    12         A.      I have -- I've never looked it up.         I -- I --

    13 I've seen and heard that there is, but I'd didn't form

    14 it, and it was as far as I know, simply to be a branding

    15 name, not an entity for any use.            To the best of my

    16 knowledge, the entity has never been used, has no bank

    17 accounts, has no operations, has no assets, has nothing.

    18         Q.      Okay.   If you didn't form the LLC, who

    19 would've done that?

    20         A.      I don't know.    It could have been -- it could

    21 have been, you know, any of people on my team to try to

    22 secure a name or URL.           It doesn't take very much as you

    23 are aware as an attorney to form a company.

    24         Q.      Sure.   There's also a fictitious name, Emerge

    25 Healthcare Group LLC; are you aware of that?
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     1         A.      Yeah.   I mean, that's all I anticipated that

     2 they would go get.

     3         Q.      Okay. So sitting here today, is it your

     4 testimony that Emerge Healthcare Group LLC has no

     5 assets?

     6         A.      That's correct.

     7         Q.      No bank accounts?

     8         A.      That's correct.

     9         Q.      It is a non-functioning entity?

    10                MR. HENDERSON:     Objection.   Form.

    11         A.      It's no -- it has no operations.

    12                 BY MR. WOOD:

    13         Q.      Okay.   All right.    First Choice is the parent

    14 company of the remaining defendants; is that right?

    15         A.      That's correct.

    16         Q.      And First Choice does business and operates

    17 through its subsidiaries, right?

    18         A.      That's correct.

    19         Q.      And you are the CEO of First Choice FCID,

    20 right?

    21         A.      No, I'm -- I'm not a CEO, to my knowledge of

    22 FCID.        Well --

    23         Q.      Okay.

    24         A.      -- I might be of FCID.      I -- I'd have to look

    25 at that in the corporate documents, but certainly a
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     1 First Choice Healthcare Solutions.            FCID I guess is a

     2 corporation, and I'm a manager of Brevard Group --

     3 Medical Group of Brevard LLC.           And I believe Marina

     4 Towers, which held a master lease at one time is now

     5 been dissolved, it's no longer in existence.

     6         Q.    Now Marina Towers, that was a subsidiary of

     7 First Choice --

     8         A.    Healthcare Solutions, yes.

     9         Q.    Yes.    And when I say, "First Choice," I'm

    10 really referring to the parent, medical group --

    11         A.    Yeah, I -- I understand.

    12         Q.    Okay.   Okay.    And so that subsidiary that --

    13 the purpose of Marina Towers was to rent space from

    14 another entity and then rent it out to its subs, right?

    15         A.    That's correct.

    16         Q.    Okay.   Other than the rent that it collected

    17 from its subs, did it have any revenue independent from

    18 that?

    19         A.    Not that I believe so, no.

    20         Q.    Okay.   And is it your understanding that

    21 medical group actually owns the fictitious name, Emerge

    22 Healthcare Group, LLC?

    23         A.    I -- I don't know.       Maybe you didn't hear.        I

    24 -- I -- I -- I do not know.

    25         Q.    No, I -- no, I heard, I'm sorry.          I -- so as
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     1 we go through this deposition, I'm going to be showing

     2 you some documents and going over those documents, and I

     3 just need to find them every so often.             So I'm going to

     4 be sharing my screen with you, and I hope that you can

     5 review that.         There we go.

     6         A.    Okay.

     7         Q.    And this is a document that I pulled from the

     8 Secretary of State for Florida, which is the Application

     9 for the Registration of the Fictitious Name, Emerge

    10 Healthcare Group, LLC.         Do you see that on the top?

    11         A.    Yes, I do.

    12         Q.    And the owner at the -- in the middle it says,

    13 "First Choice Medical Group of Brevard LLC?"

    14         A.    Yes.

    15         Q.    And at the bottom, there's an electronic

    16 signature, which states your name in June of 2022.                Do

    17 you see that?

    18         A.    Uh-huh.

    19         Q.    Did you file this?

    20         A.    No.

    21         Q.    Who would've signed your name on your behalf?

    22         A.    Well, he might've asked me.         I -- I have --

    23 could -- it could be Julie Hardesty or Gillian Lee,

    24 probably Gillian Lee.

    25         Q.    Okay.
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     1         A.    I mean, the idea was to rebrand and so she

     2 would, you know, if I said, you know, we -- we -- we

     3 decided at a group meeting, okay, Emerge sounds like a

     4 great name.         She would apply for a fictitious name and

     5 signed my name.

     6         Q.    Okay.     Now with the bond, it does mention that

     7 you're stating that the information is true and accurate

     8 and you're certifying that it's been registered.                Did

     9 you at least review this document before it was filed?

    10         A.    No.

    11         Q.    Okay.

    12         A.    It seems pretty self-explanatory.          They

    13 applied for a fictitious name.           I just didn't know if it

    14 was under First Choice Healthcare Solutions or First

    15 Choice Medical Group or FCID.           You know, makes sense I

    16 guess, since prior to recent events, the medical

    17 operations are at the Medical Group of Brevard LLC, and

    18 the idea was to rebrand.          So I don't think it -- it's

    19 pretty perfunctory.

    20         Q.    Now looking at this document, you don't

    21 dispute that First Choice Medical Group owns this name,

    22 right?

    23         A.    No.

    24              MR. WOOD: Okay. And this will be marked

    25       Plaintiff's 1.
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     1               (EXHIBIT 1 MARKED FOR IDENTIFICATION)

     2               BY MR. WOOD:

     3         Q.    Now I'm sure you're aware I represent a number

     4 of former employees, and we are going through the

     5 complaints, which are pretty much the same.              Throughout

     6 discovery we have or throughout this case, we have

     7 requested certain documents from the defendants,

     8 including paychecks.         Some of those paychecks were

     9 turned over, some of them were turned over prior to

    10 filing suit, and I appreciate that, but there were a

    11 number of paychecks that were not turned over.               For

    12 instance, those in the November, October time frame

    13 through, I believe June of 2022.            So I don't have

    14 documents to go over at the moment, and your attorney

    15 and I have discussed that recently, and we've reserved

    16 the right to continue this deposition at a time once we

    17 get those documents.         But I would like to cover a bit of

    18 the information, even though we don't have the documents

    19 now.     So we've made the allegations that a number of

    20 these employees were receiving paychecks from FCID until

    21 April 3 of 2022.        Have you heard that allegation at the

    22 very least?

    23         A.    No.

    24         Q.    Okay.   And that is in the complaint?

    25         A.    Yes, but without reviewing the complaint, but
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     1 I would have no knowledge of that.            I -- I don't make

     2 determinations upon who's being paid out of what. That's

     3 -- that's not what I do.

     4         Q.    Okay.   But --

     5         A.    And I would have no knowledge of that.

     6         Q.    If there were paychecks that were from FCID to

     7 these employees, would you dispute their accuracy?

     8         A.    I'd have to review them.        I -- how can I -- I

     9 -- I -- how can I admit or deny something I haven't

    10 reviewed?

    11         Q.    Okay.   Well, we have asked for paychecks from

    12 FCID and nothing was turned over.            Have you at least

    13 directed somebody within your organization to go review

    14 obtain those paychecks?

    15         A.    I've -- I've asked my CFO to aggregate the --

    16 the required discovery to satisfy the obligation.

    17 Gillian Lee, who used to do much -- much of that has

    18 taken another job and she does sort of on a consulting

    19 hourly basis assist with that. I'm not aware that we

    20 haven't met, it sounds like from your description, all

    21 of the discovery requests and I'll go back and -- and

    22 ask. It could be. Well, I don't want to speculate. I

    23 mean, paychecks, we didn't print paychecks normally.

    24 Paychex printed them, or we went to a PEO in TriNet.

    25 They became employees of TriNet, you know? So I -- I
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     1 don't really know. I -- I -- I'd have to investigate. I

     2 don't -- I have no idea why things changed or didn't

     3 change or who's being paid where, who's paying? I have

     4 no idea what employees get paid from each of the

     5 entities.

     6         Q.    Okay.    What's TriNet?

     7         A.    A PEO.

     8         Q.    And what do they do?

     9         A.    They, I think essentially hire employees and

    10 lease them back to companies, essentially.

    11         Q.    Okay.

    12         A.    They take full responsibility for the

    13 employees.

    14         Q.    Now in April of 2022, there was a change in

    15 your healthcare, correct?

    16         A.    There was several different healthcare plans,

    17 because I think we lost one of them through bankruptcy,

    18 a renewal, but I don't know the exact timing or the

    19 date.

    20         Q.    Okay.    Now the paychecks that you did turn

    21 over, they come from the medical group, right?

    22         A.    I don't know. I've not reviewed that.

    23         Q.    And are you aware of the fact that no payroll

    24 has been issued to, generally speaking, to these

    25 employees after -- for any time worked after June 13 of
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     1 2022?

     2              MR. HENDERSON:     Objection. Form.

     3         A.    I don't know the exact date. I know we've paid

     4 the DOL some amount to -- to various payroll obligations

     5 that were met. And I -- I don't know, but there has been

     6 payments made. I don't know what amounts outside of DOL

     7 to, you know, some -- some employees that had left, but

     8 I -- I -- I -- I just don't know who they are and in

     9 what amounts.

    10               BY MR. WOOD:

    11         Q.    And the Department of Labor did an

    12 investigation of the unpaid wages that are at issue

    13 here, correct?

    14         A.    That's my understanding. I've never talked to

    15 them myself personally.

    16         Q.    Who spoke with the DOL?

    17         A.    I believe Phil Keller, CFO.

    18         Q.    And have you spoken with Mr. Keller about

    19 those interactions?

    20         A.    He just told me that they're very cooperative

    21 and, you know, we -- and we need to just pay this --

    22 this amount to the DOL. And -- and I -- and we -- we

    23 have done that.

    24         Q.    Did they issue any kind of a finding?

    25         A.    No, not that I'm aware of.
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     1         Q.    And do you know how the amounts that you paid

     2 to the DOL were calculated?

     3         A.    No, I do not.

     4         Q.    There's a number of e-mails that were cited in

     5 the complaints that were sent by you.             Do you recall

     6 reviewing those citations?

     7         A.    Yeah. Those were just -- those were e-mails,

     8 you know, to inform people. Everybody knew we were

     9 coming out of bankruptcy, had no capital.              That

    10 essentially the revenue-producing employees, which were

    11 generally speaking the doctors and surgeons, had failed

    12 miserably. And that we were out of capital, and we were

    13 trying to go to our investors, and other investors to

    14 raise enough capital to pay people. And there -- there

    15 were updates regarding what those -- what we were being

    16 told, and where we were with respect to incoming

    17 investment capital.

    18         Q.    These investors, where are they located?

    19         A.    I don't know. They -- they're all over the

    20 country. Don't know.

    21         Q.    Okay. And you would speak with these investors

    22 on a daily or weekly basis?

    23         A.    No. In other words, they would come through

    24 one of the banks we hired to raise capital or brokers.

    25 And, generally speaking, I might not have ever spoke to
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     1 them.

     2         Q.    And the bank that you hired, who were they?

     3         A.    Spartan Capital Securities.

     4         Q.    And where are they located?

     5         A.    New York.

     6         Q.    And you would deal primarily with them? Is

     7 that what you're saying?

     8         A.    In some cases. In some cases, other brokers

     9 from other places. The principal business of Spartan

    10 Capital Securities was to uplift us onto the NASDAQ and

    11 do the public raise. Although they did introduce us to a

    12 -- an entity that is non-domestic that provides

    13 financing for, let's say pre-IPO type companies, and a

    14 couple of other investors that they introduced us to.

    15         Q.    Okay. And so these entities that are outside

    16 of the United States, they've invested some kind of

    17 money into the companies?

    18         A.    Yes.

    19         Q.    And those investments, are those in the parent

    20 company?

    21         A.    Yes.

    22         Q.    Okay. And the funds that would be going into

    23 the parent company, would they then be transferred to

    24 these subsidiaries to operate?

    25         A.    That's correct.
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     1         Q.    Okay. And the negotiations that you had with

     2 these foreign entities, would it -- would you and Mr.

     3 Keller be the ones doing those negotiations or

     4 communications?

     5         A.    No. It would generally be me and the broker or

     6 bank. But there was no negotiations, we put out a term

     7 sheet, and people would invest or not invest.

     8         Q.    Okay. And this term sheet, would that be

     9 listed somewhere?

    10         A.    No.

    11         Q.    Okay. How would an investor find this term

    12 sheet?

    13         A.    Typically they would sign, potentially an NDA.

    14 They would request it either through a broker or a bank,

    15 or on an e-mail with myself. And we would send out the

    16 -- or a -- you know, our -- our securities counsel. And

    17 we'd send out an e-mail with the term sheet and any

    18 other documents that, you know, made up the investment,

    19 depending on what instrument was being offered at that

    20 time.

    21         Q.    And I believe that you discussed during these

    22 e-mails, that there were -- there were potential for

    23 investments. I believe you even had some smaller amounts

    24 come in; is that true?

    25         A.    That is true. And as they came in, we paid
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     1 payroll.

     2         Q.    Okay. So as the money would come in, it would

     3 go into First Choice, it would then trickle down into

     4 the subsidiaries, and then the money would go out to the

     5 employees?

     6         A.    Yes.

     7         Q.    Okay. Other revenues from your operations

     8 would have come through insurance companies as well; am

     9 I right?

    10         A.    There would be revenues from insurance

    11 companies, yes.

    12         Q.    Okay. And what about Medicare?

    13         A.    Yeah, Medicare as well.

    14         Q.    Okay. And did you have a staff or division who

    15 would -- whose primary job would be to deal with these

    16 healthcare companies or insurance companies?

    17         A.    Yes. Small -- small group of people. A couple

    18 of people.

    19         Q.    Two or more?

    20         A.    I think there's two.

    21         Q.    Okay. And who are their name -- what's their

    22 names?

    23         A.    I don't really know. There's a Debbie and -- I

    24 -- I don't know.

    25         Q.    Okay. And am I right to say that their job
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     1 would be to call these insurance companies and work

     2 through billing?

     3         A.    Yeah. There's a -- a Shelly, now that you've

     4 jogged my manager --

     5         Q.    Shelly.

     6         A.    -- that made the calls. But the incoming

     7 payments, because of the loss of revenue, you know, I

     8 told the employees that, you know, we're probably losing

     9 25,000 a day. They were insufficient to meet any

    10 obligations.

    11         Q.    Okay. So these -- this division that dealt

    12 with the billing, they would place calls to the

    13 insurance companies, they would presumably e-mail the

    14 insurance companies?

    15         A.    I -- I don't know. I don't know how they

    16 collected.      Or if they made any calls or some calls, I

    17 -- I don't know.

    18         Q.    Okay. You've reviewed the financials of the

    19 companies, right?

    20         A.    Uh-huh.

    21         Q.    Okay. And through reviewing those financials,

    22 would you see the streams of revenue?

    23         A.    Yes.

    24         Q.    And where would the revenue be coming from?

    25         A.    They were coming from PT, medical -- other
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     1 medical services, pain management, interventional care.

     2 We no longer have those today. So collections, daily

     3 collections, I guess are about $150 to $300 a day now

     4 that are receivables or primarily expended now.

     5         Q.    And you accepted Medicare. Do you accept

     6 Medicaid?

     7         A.    I believe we did. I don't know if we're still

     8 compliant with Medicaid.

     9         Q.    And what is required to -- what is required to

    10 comply with Medicaid?

    11         A.    I don't know.

    12              MR. WOOD: Now let me share my screen again.

    13       These are e-mails that were -- sorry. Share. There

    14       we go. We'll mark this as Plaintiff's 2.

    15               (EXHIBIT 2 MARKED FOR IDENTIFICATION)

    16               BY MR. WOOD:

    17         Q.    These are e-mails, a lot of which we've cited

    18 throughout the complaints. There's 29 pages. I can

    19 scroll through them briefly, but I just want to know if

    20 you dispute the -- that these are accurate depictions of

    21 e-mails or memos that were sent out either by you or by

    22 Ms. Lee on your behalf?

    23         A.    Well, I have to read -- I -- I'm happy to go

    24 through them and read them.

    25         Q.    Okay.
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     1         A.    "I'm substantially relying on their -- " you

     2 got to leave them up there so I could see. Okay. So the

     3 one you have up is accurate, and that's the truth.

     4         Q.    Okay. And that's dated July 18. Here's an e-

     5 mail, June 16, 2022, from Gillian Lee. Would you work

     6 with Ms. Lee to have communications from you sent out to

     7 the employees?

     8         A.    Yeah, with Gillian and Phil, based upon what

     9 we know related to investors.

    10         Q.    Okay. I might need to expand that. So June 16,

    11 internal memo, if you could -- can you read that?

    12         A.    It is -- if you can just expand the Zoom a

    13 little bit.      Okay.

    14         Q.    There we go.

    15         A.    Okay.

    16         Q.    Okay. Do you recall sending this out?

    17         A.    I don't recall that -- this particular e-mail,

    18 but it sounds accurate.

    19         Q.    Okay. And here you talked about working with

    20 investors.

    21         A.    Uh-huh.

    22         Q.    And is -- that's what you were primarily doing

    23 at this time?

    24         A.    That's what I've always been doing.

    25         Q.    Okay. Did you ever complete this funding?
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     1         A.    We -- we -- we -- we did get funding in here

     2 and there from different people. But I'm not sure what

     3 -- which -- who this is referring to or what groups.

     4         Q.    Okay. Let me -- few others. You recall that

     5 payroll was not distributed in June or July of 2022,

     6 correct?

     7         A.    I -- I am aware that payrolls might not have

     8 been distributed at certain times. I am not aware or

     9 have knowledge of the exact dates at this time. I don't

    10 have -- I don't remember it and I don't recollect

    11 exactly the dates when.

    12              MR. WOOD:    Okay.    And we'll have the last group

    13       of e-mails will be Plaintiff's 2.           I have another

    14       one here, July 29, that'll be Plaintiff's 3.

    15               (EXHIBIT 3 MARKED FOR IDENTIFICATION)

    16               BY MR. WOOD:

    17         Q.    Let me share my screen real quick. All right,

    18 this is two pages. The first page -- second page is just

    19 redacted. This is from Ms. Lee. You're CC'd on it along

    20 with Mr. Keller. And it's signed with your name.

    21         A.    Uh-huh.

    22         Q.    You can take a minute to review it and let me

    23 know if you remember this.

    24         A.    Okay.

    25         Q.    Do you recall this e-mail or memo?
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     1         A.    No.

     2         Q.    Did Ms. Lee often send out memos that you

     3 hadn't reviewed and that were signed by you?

     4         A.    Well, not that necessarily that weren't

     5 reviewed, that we discussed and she put into writing.

     6 But --

     7         Q.    And I've seen e-mails between you and Ms. Lee

     8 where she would send you a memo and you would approve of

     9 it, and then it would be sent out. Is that typically --

    10         A.    Yes, that's typically what -- what would

    11 happen. And sent -- she'd send it to Phil as well, you

    12 know. But these are -- we -- we were trying to be,

    13 because people asked, transparent with what it was on

    14 the ground. The thing that -- that everybody knew at the

    15 time was that the company had lost all the invested

    16 capital, because the physicians that really provided the

    17 jobs for your plaintiff clients burned through all the

    18 capital, and there was no ability to continue

    19 operations.

    20         Q.    Okay. In this memo it does say, "You'll be

    21 paid all payroll and expenses that are due." Do you see

    22 that?

    23         A.    Uh-huh.

    24         Q.    Do you stand by that statement?

    25              MR. HENDERSON: Objection.        Form.
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     1         A.    Yeah. I -- I mean, I think what we're doing

     2 is, our intention is to continue the company, take it in

     3 a different direction. Its value is the public company,

     4 which you could put any business into. And as a

     5 liability, the company intends on paying those -- those

     6 remaining amounts that might be due. I don't know what

     7 the amounts the DOL are going to apply towards your

     8 client's payrolls, but that is the intention. And

     9 whenever we got funding, we continued making payments.

    10 So --

    11               BY MR. WOOD:

    12         Q.    At the end here, it mentions that there's an

    13 amount in arrears with UnitedHealthcare and Florida

    14 Blue; do you see that?

    15         A.    Uh-huh.     Yes, I do.

    16         Q.    And we're going to get further into that.            But

    17 these were the healthcare plans that were provided to

    18 employees as part of their employment, right?

    19         A.    That's correct.

    20         Q.    Okay.     And those plans were canceled because

    21 of a lack of payment, right?

    22         A.    Yes, there were no funds that were able to be

    23 pulled from our accounts where they would normally do

    24 deductions.      They -- there was no money in the company.

    25 So most of the time, and at times when investor funds
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     1 came in, they went out to payroll.            So that would be

     2 correct.      And -- and -- and I would just add that, in

     3 the case of Florida Blue, during bankruptcy payments are

     4 stayed.      So the amount of Florida Blue -- the amount of

     5 Florida Blue, I guess arrearages, I don't know, was

     6 significant.       And they didn't want to continue with us

     7 as well, so -- you know, post-bankruptcy, so -- which is

     8 why we ended up with UnitedHealthcare.             Which I think --

     9 I think came through.         The PEO TriNet that -- a few

    10 payrolls, I -- I believe were met.            And then they

    11 terminated their agreement with us because of our

    12 financial problems.        And we -- we attempted to continue

    13 with United, but we -- we could not.

    14         Q.    Do you recall, the Florida Blue, the last plan

    15 that was in place was supposed to last through, I

    16 believe July of '22?

    17         A.    I don't recall.      I -- I didn't do any -- you

    18 know, HR functions would normally be between the HR

    19 people and Phil Keller, so I -- I wouldn't know.

    20         Q.    As the CEO, you have the final say in the

    21 business operations, right?

    22              MR. HENDERSON:     Objection to form.

    23         A.    As the CEO, you decide what your style is in

    24 -- style is.       I'm -- I focus on what I know, I don't

    25 focus on what I don't know.          So if I have team members
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     1 that are capable of, you know, making decisions about

     2 certain things, I let them make those determinations.

     3 And you know, in this case, I never dealt with Florida

     4 Blue, I never dealt with UnitedHealthcare.              And I don't

     5 know any of the facts and circumstances regarding that,

     6 other than high level descriptions that I've been able

     7 to provide to you today.

     8               BY MR. WOOD:

     9         Q.    I'm going to show you another document.            This

    10 is from August of '22.         And this is also two pages.         The

    11 first page is really just the individuals who received

    12 it.     It's dated August 26, 2022.         And I'll go to the

    13 second page where there's the bulk of this, and let you

    14 read that.

    15         A.    Okay.   What would you like to ask me?

    16         Q.    Do you recall sending out this memo?

    17         A.    Not at this time, no.

    18         Q.    Do you dispute that it was e-mailed to the

    19 individuals that were listed?

    20         A.    No.

    21         Q.    Okay.   And here it does mention money coming

    22 in.     And actually there's a comment here that something

    23 was personally guaranteed by you.            Have you --

    24         A.    There was no -- there was no ability.           That's

    25 some of the loans I talked about, that I've made.                That
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     1 I've been able to pull money from what they call MCA

     2 lenders for different things like that, where I could

     3 personally guarantee them.           And I provided financing on

     4 several occasions -- several occasions to, you know,

     5 help make payroll to ease some of the employees', I

     6 guess, problems.           There were other shareholders who

     7 worried we would liquidate and refile.             And said, "Look,

     8 if you -- if you want me to loan it to you, so you can

     9 loan it to the company, I'll do that."             And things like

    10 that.        So you know, many times those things had

    11 occurred.        And we've -- we, you know -- based on the

    12 dates, I -- I don't know what payroll that is or when,

    13 but that's all accurate, yes.

    14         Q.      Okay.

    15         A.      And -- and I -- I did that because I still

    16 think, in the future, the company has an opportunity.

    17 And I did that out of the silliness of my heart, not

    18 because I'm an owner, not because I'm a -- I have a

    19 stake in this company right now until future success. So

    20 -- but I -- I decided to do it, so that's that.

    21         Q.      Okay.     We're getting close to an hour in and

    22 we're about to change topics, so let's take a ten or --

    23 ten-minute break.          Is that all right?

    24         A.      Uh-huh.    That works.

    25                MR. WOOD:    I have 10:52.    So let's shoot for,
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     1       let's say 11:05.

     2              THE REPORTER:     Sounds good.      All right, I'll

     3       take us off the record real quick.

     4               (OFF THE RECORD)

     5              THE REPORTER:     Back on record.

     6              MR. WOOD:    All right, Mr. Friedman, we are back

     7       from a short break.         And I'm going to share my

     8       screen again with you.          This will be marked as

     9       Plaintiff's 5. This is the Amended Notice for Taking

    10       the Deposition for today.

    11               (EXHIBIT 5 MARKED FOR IDENTIFICATION)

    12              THE WITNESS:     Yeah.

    13              MR. WOOD:    Yeah.    And James, you should have --

    14       your office received this, I believe yesterday.

    15       And, like I said, we removed the Evelyn Bonilla as a

    16       noticing party.

    17               BY MR. WOOD:

    18         Q.    Prior to today's deposition, Mr. Friedman, you

    19 reviewed this or something very similar to this notice?

    20         A.    I -- I -- I might have a while ago, yes.

    21         Q.    Okay.    And in this notice we are -- we noticed

    22 this as a corporate representative deposition.

    23         A.    Right.

    24         Q.    Okay.    And we listed a number of issues within

    25 the exhibit to the notice as to what we would be
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     1 inquiring about.         Did you review these issues?

     2         A.    Yes.

     3         Q.    Okay.   And are you the individual who would

     4 bind the company?

     5         A.    Am I the individual --

     6         Q.    Are you the individual who can bind the

     7 company with your testimony?

     8         A.    Myself -- the only two officers are myself and

     9 Mr. Keller.

    10         Q.    Okay.   Are there any other individuals who are

    11 going to be testifying on behalf of the defendants?

    12              MR. HENDERSON:       Objection to form.     Answer if

    13       you can.

    14         A.    I -- I -- I don't know.        I mean, I -- I --

    15 that would be in consultation with my -- with the

    16 Counsel.

    17               BY MR. WOOD:

    18         Q.    Okay.

    19         A.    I -- I don't know.

    20         Q.    Are there any other individuals who are going

    21 to be testifying today on behalf of the company?

    22         A.    Not that I'm aware of.

    23         Q.    Okay -- okay.

    24              MR. HENDERSON:       Joseph, one second.

    25              MR. WOOD:     Yep.
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     1              MR. HENDERSON:       You've indicated this was

     2       Exhibit 5.     What was Exhibit 4?

     3              MR. WOOD:    Let me see.        There was an August

     4       26th e-mail, I think.         Let's see.

     5              THE REPORTER:     I'm sorry, this is the Court

     6       Reporter.     I don't -- I don't think that you marked

     7       those as an exhibit, but --

     8              MR. WOOD:    I think I skipped -- no, here's --

     9       okay, I have -- here's what I've got.             The

    10       fictitious name was number 1.            The e-mails, a group

    11       of e-mails, I think it was 29 documents, was 2.               A

    12       July 29 e-mail was 3.         August 26th was 4.        And the

    13       notice was 5.

    14               (EXHIBIT 4 MARKED FOR IDENTIFICATION)

    15              MR. WOOD:    Okay.     Are we good?

    16              MR. HENDERSON:       Yes.     I just wanted to clear

    17       that up for the record.            I just don't know if you

    18       put it on the record that Exhibit 4 was going to be

    19       that August 26th.

    20              MR. WOOD:    Got it.        Got it.   Thank you.

    21               BY MR. WOOD:

    22         Q.    Let's go through these issues real quick and

    23 just make sure that you're the one that's going to bind

    24 the company on these issues.              The first one is all the

    25 facts alleged in the -- in the plaintiff's Complaints.
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     1 Is there anyone else going to be testifying on the --

     2 those issues?

     3         A.     Not that I'm aware of.

     4         Q.     Okay.     And then the defendant's answers,

     5 denials, affirmative defenses?

     6         A.     Today I was -- you know, for today's

     7 deposition, I was appointed the corporate rep.

     8         Q.     Okay.

     9         A.     If I'm not sufficient, the only other

    10 potential corporate rep is Phil Keller.

    11         Q.     Okay.     And the financials of the company,

    12 you're here to testify about that?

    13         A.     Yes, I can testify about that.

    14         Q.     Okay.     The corporate structure, the officers,

    15 their duties, responsibilities, right?

    16         A.     Uh-huh.

    17         Q.     Okay.

    18              MR. HENDERSON:      You have to say yes or no,

    19       Lance?

    20         A.     Yes.

    21                BY MR. WOOD:

    22         Q.     Okay.     And number 7 is all of the payment of

    23 wages, basically for the -- for January '22 through the

    24 present.       You're able to bind the company on that issue?

    25         A.     Only as to the facts I know.
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     1         Q.    And you're here to testify as to the decision

     2 not to compensate the employees the wages --

     3         A.    Nobody made that decision.

     4              MR. HENDERSON:     Objection to form as well.

     5               BY MR. WOOD:

     6         Q.    Did the employees have personnel files?

     7         A.    I assume so.

     8         Q.    Okay.   And are they maintained by the

     9 company's -- company's someone?

    10         A.    That would normally be maintained by a former

    11 employee, Ruby Rosado and -- and/or Gillian Lee.

    12         Q.    Okay.   And --

    13         A.    Also a former employee.

    14         Q.    Did any of those employees take company

    15 documents with them when they left?

    16         A.    Not that I'm aware of.

    17         Q.    Okay.   And you're here to testify on the

    18 employment practices, policies that were in place at the

    19 time?

    20         A.    To the best of my knowledge, yes.

    21         Q.    And the health insurance program that was in

    22 place?

    23         A.    To the best of my knowledge, yes.

    24         Q.    Okay.   As we scroll through these issues, is

    25 there anything on this list that you are not appointed
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     1 to testify on?

     2         A.    I was asked to testify as the corporate

     3 representative.

     4         Q.    Okay.

     5         A.    The level of knowledge I have about these

     6 things is going to vary.

     7         Q.    Okay.   And here, number 19, we're talking

     8 about the premiums that were deducted from paychecks.

     9 You understand that that is the insurance deductions?

    10         A.    Yes.

    11         Q.    Okay.   And you are able to testify on that

    12 issue also, right?

    13         A.    To the best of my knowledge.

    14         Q.    Okay.   As the CEO or member of these entities,

    15 you have the ability to hire and fire employees,

    16 correct?

    17         A.    I -- I do.

    18         Q.    Okay.   And ultimately set schedules of the

    19 employees?

    20         A.    Yes.

    21         Q.    And you control the financials and the

    22 operations of these entities also, right?

    23         A.    No.

    24         Q.    As CEO you don't control the finances?

    25         A.    No.
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     1         Q.    You don't control the operations?

     2         A.    I -- I don't control the operations to the

     3 extent that I make decisions on day-to-day matters.                I'm

     4 just providing a vision, and help develop a business

     5 plan so that the company can improve operations and move

     6 forward.

     7         Q.    Who would have been the individual in charge

     8 of managing all of these employees?

     9         A.    It would be different.        I'd have to look at an

    10 org chart.      It depends.     For example, the doctors who

    11 are no longer there, there would be a medical director.

    12 At that time, based upon the doctors in this one case I

    13 hired, I only was very involved in hiring of surgical

    14 practice doctors and other medical -- you know, other

    15 doctors, physicians.         I'm not involved in hiring and

    16 firing anybody else.         They would come to me and say,

    17 "We've decided, based on this conduct or lack of use,

    18 that person is fired."         And, you know, I'd go, "Okay,

    19 you know better than me."          But as far as those employee

    20 matters, I was only involved in those type of employee

    21 hirings and firings.

    22         Q.    So before these individuals would take action

    23 such as a termination of an employee, they would come to

    24 you, report that to you, and you would sign off on it

    25 essentially?
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     1         A.    No -- no.    They would tell me they were doing

     2 it.

     3         Q.    Okay.

     4         A.    And why.    And I would -- wouldn't sign off on

     5 anything.      I would -- it -- it was a done deal.           As I

     6 told you, everybody has a different management style.                 I

     7 might be viewed like you as Tom Brady, but I'm not

     8 teaching Gillian Lee how to block for me.

     9         Q.    Okay.

    10         A.    You know, if she's blocking, she's blocking

    11         Q.    Your job was to run the company, and you --

    12 are you saying that you tried to stay out of the minute-

    13 to- minute issues?

    14         A.    Because that's not my --

    15              MR. HENDERSON:     Objection to form.

    16         A.    Yes.    That's not my skillset.       They would, you

    17 know, tell me what's going on and I understand what's

    18 going on.      My -- my being there was very focused on

    19 creating a business plan to raise capital and improve

    20 shareholder equity.        And the potential for safety, if

    21 you will, going forward for employees who existed there

    22 at the time, by helping to create a viable entity.                That

    23 viable entity was only going to be created through an S1

    24 filing, acquisitions, because of the destruction of the

    25 company and its infrastructure.           The hiring and trying
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     1 to rebuild the surgical practice that fed all of the

     2 employees and the ancillary services that they provided

     3 failed.      They -- they -- I think they, in one year,

     4 burnt $6.7 million and put in 300 -- brought 300,000

     5 some -- three to 400,000 collectible revenue.               I think

     6 the number is 353,000.         So that was unsustainable.           So

     7 they were either fired, they were let go, they left

     8 themselves because they knew it was a situation that

     9 couldn't continue.        And then people around them were let

    10 go over time for lack of -- lack of -- you know, we --

    11 we had nothing to employ them for.            And then other

    12 people left on their own because, you know, the -- the

    13 situation of the company was not a secret.              So we were

    14 transparent and people knew what the risks are.               We're

    15 still trying to proceed.          And we're -- we're, you know,

    16 we're trying to deal with          -- outside of employee

    17 issues, there's lots of liabilities at the company.                  You

    18 know, we have settlements outside of the bankruptcy, as

    19 part of the bankruptcy that need to be paid.               And so

    20 that's what we -- we try to do every day.

    21               BY MR. WOOD:

    22         Q.    Now the bankruptcy didn't preclude the

    23 entities from paying wages to their employees, right?

    24         A.    No, they were paid during bankruptcy.

    25         Q.    Okay.   And after the confirmation, the
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     1 bankruptcy didn't prevent, specifically prevent, the

     2 company from paying those wages, right?

     3         A.      Well, prevented the -- the company from paying

     4 -- from paying wages was not because the company made

     5 any decision not to, but the entities or vendors that

     6 paid employees could not draft requisite funds to

     7 release payroll.        And that was the primary reason to do

     8 that.        They made the decision to do it.       They were

     9 afraid to either front any money or take a risk on

    10 continuing to employ employees that they were not

    11 confident they would get paid on as in TriNet on the

    12 lease arrangement.        And -- and you know, that was the

    13 reason.        The primary reason for that was that the

    14 operations of the company at that time failed and

    15 continued to fail, because there was no revenue being

    16 generated by employees that, you know, seven employees

    17 that burnt up 95 percent of the dollars.              It's that

    18 simple.        Which is why we're attempting to go in a

    19 different direction now.

    20         Q.      Now to be clear, most, if not all, of the

    21 unpaid wages that are at issue here, you don't dispute

    22 that they weren't paid those wages, right?

    23         A.      I don't know the exact amounts that remain

    24 unpaid, but I don't dispute that there are unpaid wages

    25 at this time.
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     1         Q.    Okay.   And during the -- a number of the

     2 plaintiff's employments, they had deductions from their

     3 paychecks for insurance premiums and those -- there were

     4 deductions that were made during times where those

     5 employees were not covered by insurance, correct?

     6              MR. HENDERSON:     Objection.     Form.

     7         A.    I'm aware that insurance, that there were

     8 deductions from their paychecks as normal for benefits

     9 that they were to receive that ultimately resulted in

    10 cancellation of a policy.

    11               BY MR. WOOD:

    12         Q.    Okay.   In 2021, what were the gross revenues

    13 of First Choice, the parent?

    14         A.    I wouldn't -- I wouldn't know that.

    15         Q.    How about 2022?

    16         A.    2022, probably three million.

    17         Q.    Okay.   And those revenues would have been

    18 generated from its subsidiaries, right?

    19         A.    From -- principally from First Choice Medical

    20 Group of Brevard, I would say, yeah.             And in -- in '23,

    21 I don't expect more than a million dollars in revenue. I

    22 don't even expect a million dollars in revenue,

    23 actually.

    24         Q.    Okay.   And FCID in 2021, do you know the gross

    25 revenues?
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     1         A.    No.

     2         Q.    How about 2022?

     3         A.    No, I -- I -- I look at everything on a

     4 consolidated basis.

     5         Q.    Can you explain that, the consolidated basis?

     6         A.    Just the total revenues that are going to --

     7 that are reported through First Choice Healthcare

     8 Solutions, Inc.

     9         Q.    Okay.   So when you're looking at the

    10 financials of this enterprise, you're looking at

    11 everybody's revenues together and not by the specific

    12 entity?

    13         A.    That's right.     That's correct.       I'm looking at

    14 a balance sheet.        I'm looking at, you know, the P&L

    15 through -- through consolidation.            Yes.

    16         Q.    Okay.   You're aware that the Florida Blue

    17 policy was canceled effective November 30, 2021, right?

    18         A.    I know it was canceled.        I'm not aware of the

    19 exact date.

    20         Q.    Okay.   And after the cancellation, insurance

    21 premiums were -- continued to be deducted from certain

    22 employees' paychecks?

    23         A.    I believe they -- I -- I believe they segued

    24 into the change to PEO, which provided UnitedHealthcare

    25 or through one of their third-party vendors,
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     1 UnitedHealthcare.

     2         Q.    And do you recall that UnitedHealthcare began

     3 in April of 2022?

     4         A.    I -- I don't recall.       Obviously, if it's that

     5 big a gap, I -- I -- I don't recall.             No.

     6         Q.    Did you receive health insurance through First

     7 Choice?

     8         A.    I think so under Florida Blue at -- at some --

     9 I -- I think -- I think at some point, I -- I had

    10 Florida Blue.         I don't think I had United.       I went on my

    11 own policy at that time.

    12         Q.    And why did you make the decision to go on

    13 your own?

    14         A.    There was no money.       I didn't want to -- there

    15 was no money.         It was -- it was part of a success

    16 contract, if I wanted to opt into a healthcare.               And it

    17 would've been after the plan, so after February of '21.

    18 But I didn't continue it.          I'm on my own policies.

    19         Q.    Okay.     The employees that worked, they had

    20 certain benefits.         We talked about insurance, right?

    21         A.    Yeah.

    22         Q.    If they -- if they opted for it.          The

    23 employees also had paid time off, correct?

    24         A.    Yes.

    25         Q.    Okay.     And there was paid holidays as well,
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     1 correct?

     2         A.    Yes.

     3         Q.    And July 4th was a paid holiday for these

     4 employees?

     5         A.    I assume so, yes.

     6         Q.    Okay.    And each of the plaintiffs that we're

     7 talking about today, they were all hourly employees,

     8 right?

     9         A.    I'm not aware of that.        There might be one.

    10 That one -- one -- I'd have to look at the style again.

    11 There might be one that's not

    12         Q.    Sure.    And I'll -- I think that you're

    13 thinking of the plaintiff represented by a different

    14 attorney who you have other issues with.

    15         A.    No, I was looking at -- is Keith Nyberg

    16 (phonetic) -- I -- I might be wrong.             He might be

    17 hourly.

    18         Q.    Well, we could look at the paychecks, right?

    19 And they would show you what the rates of pay were for

    20 these employees?

    21         A.    Right.

    22         Q.    Okay.

    23         A.    Okay.

    24         Q.    Ultimately, the employees weren't paid because

    25 you didn't have the funding; is that right?
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     1         A.    Employees ultimately were not paid because

     2 there was no revenues to support operations at the

     3 company and investor capital was not adequate and timely

     4 to continue regular payrolls.

     5         Q.    I'm going to share my screen.         And this is

     6 going to be Plaintiff's 6.          These -- so you may recall

     7 that we sent out quite a bit of discovery to you

     8 personally and to the companies.            We are still waiting

     9 on verification of these answers, but you provided

    10 answers as part of the discovery process.              We're looking

    11 here over Ms. Yolanda Berkshee (phonetic), the First

    12 Choice Healthcare Solutions response to the first of

    13 interrogatories.        Do you recall going through these

    14 interrogatories and providing responses?

    15         A.    I -- I believe so.       I -- I think it was

    16 handled.      I -- I did review it, and I think the initial

    17 -- a lot of the interrogatories and information was

    18 provided through -- through the firm and in consultation

    19 with Phil and Gillian and -- and the others, so.

    20         Q.    Okay.     I want to go over number 2.        It says,

    21 "Explain in detail the reason Plaintiff was not paid all

    22 over her wages from June '22 through the end of her

    23 employment."

    24         A.    Uh-huh.

    25         Q.    I'd like to kind of expand this question to go
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     1 for everybody, but I think the answer is probably the

     2 same.        The answer here is, "The company lacked adequate

     3 funding to pay Plaintiff's wages during that time

     4 period."        Is that correct?

     5         A.      It -- it not only lacked the adequate -- yeah,

     6 adequate funding through collections and investor --

     7 investment capital.

     8         Q.      Okay.   In number 3, we asked to identify the

     9 individuals who made the decision not to compensate the

    10 plaintiff all of the wages.          And again --

    11         A.      I -- I'm disputing that in my verification.

    12         Q.      Okay.

    13         A.      I don't know who -- I -- I, you know, put me

    14 there, but I didn't make any decision not to compensate.

    15 It was made by the third parties that paid them.                They

    16 -- they didn't -- they weren't able to draft the money

    17 and they refused to issue payroll.            That is not --

    18         Q.      They -- to be clear, the individuals that

    19 you're now saying made the decision, they needed funding

    20 from your companies in order to make --

    21         A.      They're not my companies.      I'm not a

    22 shareholder.

    23         Q.      You -- you're here as the representative of

    24 the companies.          So when I say, "your company --"

    25         A.      I am a contracted officer for the company to
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     1 provide certain services to that company, and I am not

     2 an owner.

     3         Q.    But you are an officer?

     4         A.    I am an officer.

     5         Q.    Okay.   And it sounds like you're saying that

     6 you contracted to have a payroll company pay the

     7 employees --

     8         A.    That has historically been the way that

     9 employees have been paid at the company.              And -- but I

    10 didn't make any conscious decision or direct -- I didn't

    11 direct anybody not to pay it.           They would issue payroll

    12 checks or payroll.        And if they couldn't pull the money,

    13 they didn't pay it.

    14         Q.    When you say, "pull the money," what's that

    15 mean?

    16         A.    They have to pull it from your -- from your

    17 accounts.

    18         Q.    Okay.   So these payroll companies would make a

    19 deduction from one of the defendant's payroll or bank

    20 accounts and use those funds to pay the payroll; is that

    21 right?

    22         A.    Say it again.

    23         Q.    The payroll companies would make a debit.

    24 They would debit money from your bank accounts, the

    25 defendant's bank accounts and use those funds to pay the
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     1 payroll of the employees, right?

     2         A.    Yes.    That's what would happen.        They would --

     3 they would calculate payroll, produce the checks they

     4 had, in some cases direct deposit information for these

     5 employees.      And if they would pull the money, if it

     6 would -- you know, they would pay them.

     7         Q.    Okay.    And if the money wasn't there, the

     8 payroll wasn't paid, right?

     9         A.    I -- I would assume so.        Yes.   They would not

    10 fund it.

    11         Q.    Who set the pay periods?

    12         A.    It -- it -- it -- it -- it was set way before

    13 my tenure.      I assume it was set by the founder and CEO,

    14 Chris Romandetti when he started it.

    15         Q.    Okay.    And the employees were generally -- the

    16 hourly employees were paid biweekly, right?

    17         A.    I think everybody was.

    18         Q.    Okay.    And for the hourly employees, who

    19 maintained the time sheets for those employees?

    20         A.    I would assume their managers and would

    21 present them to Ruby Rosado.           I know Gillian Lee was

    22 part of human resources, so they would verify it or

    23 however they would process it.

    24         Q.    Okay.    And the hours would then be sent over

    25 to these payroll companies?
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     1         A.    I would assume so, yes.

     2         Q.    Okay.   The payroll companies that we're

     3 discussing, where are they located?

     4         A.    I don't know.

     5         Q.    Do you know if they're Florida entities?

     6         A.    I don't know.

     7         Q.    Were W-2s issued for any of the employees, any

     8 of the plaintiffs?

     9         A.    I believe historically they've been supplied

    10 to, you know, former employees.           There are no current

    11 employees really right now, but -- and I think those are

    12 up-to-date.      They've all been supplied, to the best of

    13 my knowledge.

    14         Q.    Who issued those W-2s?

    15         A.    Normally Paychex would or TriNet would.            I

    16 think in some cases when they terminated our contracts,

    17 we calculated things internally and -- and issued them

    18 internally.

    19         Q.    Okay.   The employer on those W-2s, who would

    20 they be?

    21         A.    It would be whatever entity they worked for.

    22 They would be First Choice.          Most of them would be, I

    23 assume, First Choice Medical Group of Brevard, LLC or

    24 FCID, LLC.      I just don't know who that would apply to.

    25         Q.    When these payroll companies would issue these
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     1 W-2s on your behalf, they wouldn't be listed as the

     2 employer on the top of the W-2, though, correct?

     3         A.    They would in the case of the PEO.

     4         Q.    Can you expand on that?

     5         A.    Well, the idea of a PEO is they take over your

     6 entire workforce and then sort of lease you back the

     7 people at some upcharge.          So we only lasted with them a

     8 month or two, because it was just getting untenable and

     9 financially.         And they released us and -- and -- and,

    10 you know, very quickly because they take on financial

    11 responsibility for those employees.

    12         Q.    Moving on to number -- go ahead.

    13         A.    So what would happen is, I believe, Pat, you

    14 know, they would have to issue a W-2 for those

    15 employees, even for the one or two payrolls they -- they

    16 -- they got ahold of.

    17         Q.    Were the employees informed of their -- of an

    18 alleged termination prior to moving over to this new

    19 entity?

    20         A.    Well, I assume they were informed that TriNet

    21 was terminated.         Yeah.

    22         Q.    No, I mean, prior to TriNet, they were

    23 employed by an entity, correct?           Under one of the

    24 defendants.

    25         A.    Yes.
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     1         Q.    And you're saying that TriNet came in and they

     2 transferred as employment from one of the defendants

     3 over to TriNet, right?

     4         A.    Yeah, it lasted about a month.          Yeah.

     5         Q.    Okay.   Was anybody inform -- any of the

     6 employees informed of this change in their employment?

     7         A.    Yeah, I believe they had a HR meeting and let

     8 everybody know we were moving to a PEO and what that

     9 meant.

    10         Q.    And were I-9s filled out by all these

    11 employees, do you know?

    12         A.    I don't know.     They -- they had a portal that

    13 they went into and filled everything out themselves.                 I

    14 would assume so.

    15         Q.    And medical benefits, who were they provided

    16 through?

    17         A.    I believe they were -- initially, they were

    18 provided, which is what you referred to as

    19 UnitedHealthcare, they were provided through a third

    20 party, a partner vendor of TriNet.

    21         Q.    As part of the First Choice Group, right?

    22         A.    Yeah.   As part of what the PEO offered.           PEOs

    23 generally offer one-stop-shop for employees, so all HR

    24 is handled through them, all the benefits, you know,

    25 401ks, all those things.
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     1         Q.    And this fell -- this relationship, I believe

     2 you're referring to the April timeframe of 2022, right?

     3         A.    I don't remember the exact dates, but it would

     4 be sometime in '22.

     5         Q.    And it fell apart because there was no payment

     6 made to this third party?

     7         A.    We -- we -- we became -- we -- we were, and it

     8 -- it became worse, financially incapable of being

     9 relied upon.

    10         Q.    On number 4 of the interrogatories, we asked

    11 about the Florida Blue Group Plan and why it was

    12 canceled.      The response here, basically it states that

    13 you didn't have the funds and there was an issue with

    14 some certain financial obligations imposed by the

    15 bankruptcy court.        Can you expand on that?

    16         A.    No, I'm -- I'm not -- I'm not aware.           I mean,

    17 we -- obviously, we had certain -- the way bankruptcy

    18 works is that you substantially complete your

    19 obligations prior to exiting.           And that substantial

    20 completion is discretionary to the bankruptcy judge. And

    21 so what went into getting the decision and order from

    22 that judge is subjective to her in our case.               I don't

    23 know what amounts or obligations were not paid to

    24 Florida Blue that were required under the plan.               So --

    25 so, you know -- you know, if they weren't made,
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     1 obviously Florida Blue would cancel.             My -- my

     2 understanding is Florida Blue wouldn't renew us anyway,

     3 and -- but I don't know what's due and owing to Florida

     4 Blue now.

     5         Q.    All right.     At the end of this response, it

     6 states that the policy was terminated as of November 30

     7 of 2021.      Do you see that?

     8         A.    Yes.

     9         Q.    Okay.   Does that refresh your memory as to

    10 when it was terminated?

    11         A.    No, but I don't dispute that.         It sounds

    12 reasonable.

    13         Q.    Okay.   And at that time, were any of the

    14 employees informed that the -- their health insurance

    15 was terminated?

    16         A.    I believe so.

    17         Q.    And do you maintain those notices?

    18         A.    The company maintains them.         I -- I would

    19 assume they're in files, yes.

    20         Q.    Do you know if they are or --

    21         A.    I would assume so.       I mean, we -- we -- we put

    22 things in files, like any other company, you know,

    23 maintain records.

    24         Q.    Okay.   Now I think there was internal

    25 communications talking about the termination of the
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     1 Florida Blue and that the employees found out that they

     2 didn't have health insurance when their claims were

     3 denied.      Do you recall having those discussions with

     4 your other officers or health -- human resources?

     5         A.    We -- we probably had discussions about it,

     6 because at the time, you know, typically what happens

     7 is, in many ways, you -- you don't even get noticed and

     8 -- because they retroactively deny claims.              And we may

     9 have initially found out that someone's claim was

    10 denied.      And then we -- and we were keeping in touch,

    11 because we were making, if I remember, some partial

    12 payments.      And then somebody's -- and then when we

    13 called them up, they, you know, they -- and -- and I

    14 wouldn't have been the one to call them up.              It -- it

    15 either would've been, you know, probably Phil Keller or

    16 somebody would've called them up, potentially Julie

    17 Hardesty.      And they would've said, "Well, we -- we

    18 canceled your policy for non-payment."             Because paying

    19 things not in full -- paying things not in full

    20 sometimes will get you canceled if full payment is

    21 required, whether that's an acceleration on a car loan

    22 or a mortgage or something else.            So it was, you know --

    23 ultimately that's what happened.

    24         Q.    Have you reviewed any notices to employees

    25 informing them that the healthcare was terminated as of
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     1 November 30, 2021?

     2         A.    I don't recall.

     3         Q.    Okay.     Number 5, we talked about the

     4 UnitedHealthcare Plan.         And here you mentioned that it

     5 started in April '22 in conjunction with a new payroll

     6 company, TriNet HR Solutions.

     7         A.    Uh-huh.

     8         Q.    Do you agree with that?

     9         A.    Yes.

    10         Q.    Okay.     It states here that the relationship

    11 with TriNet failed resulting in the premium never being

    12 paid and the policy lapsing as if it had never existed.

    13 Can you explain what that is saying?

    14         A.    Well, I'm assuming TriNet didn't pay the

    15 policy.      And whatever money they had collected from us

    16 during the two payrolls might have been insufficient for

    17 taxes and other things.         It might have been net payroll.

    18 It could have been anything, but the total amounts,

    19 including their fees, they never collected.              So they

    20 elected not to pay the health insurance and to close out

    21 the other liabilities.

    22         Q.    They -- your understanding is they didn't pay

    23 it because you didn't provide them with funds to pay it,

    24 correct?

    25         A.    Sufficient funds for all of the obligations
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     1 that TriNet had requested us to pay.

     2         Q.    You also state here that the company was never

     3 able to recover after the Court imposed the bankruptcy

     4 payments, and UnitedHealthcare terminated the policy.

     5         A.    Correct.

     6         Q.    Are you saying that after you left bankruptcy,

     7 you were not able to meet your financial obligations

     8 moving forward?

     9         A.    Well, we were not due to the non-performance

    10 of the physicians we brought in at that time.

    11         Q.    Now obviously you had an issue with meeting

    12 your financial obligations with Florida Blue back in

    13 2021.

    14         A.    Uh-huh.

    15         Q.    Who made the decision to continue to provide

    16 healthcare or insurance to the employees after that

    17 issue, despite the fact that you didn't have the money

    18 to cover those benefits?

    19         A.    Well, I think at that time we were -- we

    20 didn't -- at that time that you're asking, we -- we

    21 weren't completely missing for periods of time payroll.

    22 We might have been three days late or a week late as

    23 well as paying the health insurance.             It wasn't until

    24 much later when everybody either was terminated or left

    25 that we, you know -- which we are now, we don't offer
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     1 any benefits and we don't hire any employees.               They're

     2 all 1099 on hourly basis.          We -- we -- I don't think --

     3 I don't think anybody consciously made that decision

     4 until I would say a complete, you know, collapse of the

     5 company operationally.

     6         Q.    In number 6, we talked about -- we asked about

     7 the deductions that were made from these paychecks in

     8 '21 and '22.       You discuss negotiations with these

     9 insurance companies, anticipating that the retroactive

    10 premiums would be due once you've reached an agreement,

    11 right?

    12               (EXHIBIT 6 MARKED FOR IDENTIFICATION)

    13         A.    We never were able to get an agreement with

    14 United, principally because of our current state of

    15 operations and financial capabilities.             But we continued

    16 to negotiate with them to try to get a payment plan

    17 going where, you know, we were unable to pay whatever

    18 arrearages and forward payments they wanted, but if they

    19 would take a current payment and pay off the balance

    20 due.     And we were never able -- through months of

    21 negotiations, we couldn't get there.

    22               BY MR. WOOD:

    23         Q.    Okay.   And when you couldn't reach an

    24 agreement, you had this money that you deducted from

    25 these employees paychecks as insurance premiums.                Those
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     1 are still owed back to these employees, right?

     2         A.    If that's the law, I assume so.

     3         Q.    Well, you collected money from these employees

     4 under the representation that it be used to pay

     5 insurance premiums.         Do you agree?

     6              MR. HENDERSON:     Objection.     Form.    You can

     7       answer if you can, Lance.

     8         A.    My understanding is that there were deductions

     9 of wages for amounts for certain benefits that were

    10 either canceled at some point in time.             And I assume

    11 under the law that we're responsible to pay those back.

    12 The company is responsible to pay those back.

    13               BY MR. WOOD:

    14         Q.    In number 7, you explained that those

    15 deductions went into a general business account for

    16 regular operating expenses.          Do you see that?

    17               (EXHIBIT 7 MARKED FOR IDENTIFICATION)

    18         A.    Yes.

    19               BY MR. WOOD:

    20         Q.    Okay.     Do you know what account that these

    21 would've gone into?

    22         A.    No.     I assume they stayed where the payroll

    23 persons are, but the CFO manages the bank accounts.                I

    24 -- I -- I don't manage any of the finances of the

    25 company hands-on where I move money or do any of those
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     1 things. I never have from the date of my appointment as

     2 CEO.     I don't do that, never have done it.

     3         Q.    You take a look at number 9, we asked to

     4 identify individuals who have the authority to do

     5 certain things like set, change compensation, hiring,

     6 establishing employees' terms and conditions of

     7 employment.         The answer provided here is you and Phil

     8 Keller.      Do you see that?

     9         A.    Yeah, ultimately that's accurate.

    10         Q.    Okay.     And at the very end, we asked for you

    11 to calculate the amount of wages that the company

    12 believed to be owed to this -- in this one, a specific

    13 plaintiff. Who would've done the calculation of these

    14 owed wages?

    15         A.    Probably Phil Keller.

    16         Q.    Okay.     And you don't dispute the calculation,

    17 do you?

    18         A.    No.

    19         Q.    Okay.     And it's the company's position, at the

    20 very least for this individual, that she is owed wages,

    21 right?

    22         A.    The company's position is that after review of

    23 whatever the DOL is holding and any other payments that

    24 may have been made outside of litigation, that the

    25 calculation is accurate.          There may be a revision for
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     1 the calculation based upon certain payments that may or

     2 may not be made to your client.

     3         Q.    The DOL, you made payments to the DOL.

     4         A.    Uh-huh.

     5         Q.    And it's your position that those payments

     6 should go to the plaintiffs and you should receive a

     7 credit for the amount of that payment, correct?

     8         A.    That's correct.

     9         Q.    Okay.     This is Plaintiff 7.      This is

    10 interrogatories that were sent to you.

    11         A.    Uh-huh.

    12         Q.    They're somewhat different than the ones we

    13 just went over.         Here, we ask for each defendant in the

    14 case, "Please explain whether you have the authority to,

    15 again, set, change compensation, hire, fire, establish

    16 employees' terms and conditions."            And the response

    17 provided states that you have the authority for all of

    18 the defendants to do these things.            Do you agree with

    19 that?

    20         A.    I have the authority, although I've never

    21 engaged in any of those, other than the physicians.

    22         Q.    You have the authority, but you haven't

    23 exercised the authority generally speaking?

    24         A.    I haven't exercised it, other than with

    25 physicians that were hired.
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     1              MR. WOOD:     And let's go through number 10. This

     2       is discussing the corporate structure.            First Choice

     3       Incorporated is a publicly held parent company. Do

     4       you agree with that?

     5         A.    Yes.

     6               BY MR. WOOD:

     7         Q.    Okay.     And then it wholly owns FCID Medical,

     8 right?

     9         A.    Uh-huh.

    10         Q.    And FCID Medical wholly owns First Choice

    11 Medical Group of Brevard, LLC, right?

    12         A.    Yep.

    13         Q.    And then you have Emerge Healthcare Group, LLC

    14 was formed for the purpose of a DBA to give the company

    15 a fresh start after bankruptcy, right?

    16         A.    No.     I don't know who decided that -- that was

    17 a good legal strategy.         You don't need to do that, to

    18 form an entity.         It's stupid, but --

    19         Q.    Okay.

    20         A.    -- it was done.

    21         Q.    So the intent really was to operate the First

    22 Choice Medical Group doing business as Emerge Healthcare

    23 Group, right?

    24         A.    That's right.

    25         Q.    Okay.     And then here you were asked to
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     1 calculate the wages that you believe were owed.               Did

     2 this calculation come from Phil Keller or did you do it?

     3         A.    I -- it came from Phil Keller.

     4              MR. WOOD:    Okay -- okay.      This is Plaintiff's

     5       8.     And this is a document that was produced in

     6       discovery.      It's Bates number 292.

     7               (EXHIBIT 8 MARKED FOR IDENTIFICATION)

     8         A.    Yeah.

     9               BY MR. WOOD:

    10         Q.    Do you recognize this document?

    11         A.    Yep.

    12         Q.    Okay.    Who created it?

    13         A.    I don't know.

    14         Q.    Okay.    The information in this document, which

    15 shows the companies, the FEINs, the address, the

    16 locations.      Is everything in here accurate?

    17         A.    Yes.

    18         Q.    Okay.    And it looks like this is saying that

    19 you came on to -- you were appointed as CEO or director

    20 of these entities in June of 2020; is that --

    21         A.    That's correct.

    22         Q.    Okay.    And this was while they were in

    23 bankruptcy, but pre-confirmation of the plan?

    24         A.    That's correct.

    25         Q.    Okay.    Now on here, the one entity not listed
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     1 was the Emerge Healthcare Group, LLC.             Is that because

     2 you don't consider that to be really an entity, but more

     3 of a DBA?

     4         A.    No.     I mean, when you file for an entity, as

     5 you know, as an attorney, it's an entity, whether I

     6 decide to use it or not, the reality is it may have been

     7 administratively dissolved already.            I don't know.      I

     8 haven't checked.

     9         Q.    Okay.

    10         A.    But we've never used it.        We never opened a

    11 bank account.         I don't even think there's an EIN number

    12 or anything like that.          So that would be my only

    13 thinking why they did not include that.

    14         Q.    Okay.

    15         A.    It may be administratively dissolved.           I mean,

    16 if you notice they did not list Marina Towers because,

    17 there's no use for it.          And it was -- I know that was

    18 administratively dissolved by now.

    19         Q.    Well, Marina Towers also is not a defendant in

    20 this case.      And I believe this was asked --

    21         A.    Well, that's true.       You're right, yes.       But I

    22 was just making the analogy of why.

    23         Q.    Sure.     Okay.   How many employees does First

    24 Choice have?

    25         A.    When?
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     1         Q.     Between 2021 and 2022?

     2         A.     Somewhere between 40 and 60.

     3         Q.     And are you including the plaintiffs in that

     4 figure?

     5         A.     Yes.

     6         Q.     Okay.   And First Choice, the -- its purpose is

     7 to own the subsidiaries which generate the revenue on

     8 its behalf, right?

     9         A.     That's correct.

    10         Q.     These subsidiaries, do they do anything else

    11 other than work on behalf of First Choice Healthcare

    12 Solutions?

    13         A.     No, not that I'm aware of.

    14         Q.     They don't provide services to other

    15 companies, right?

    16         A.     Not that I'm aware of.

    17         Q.     And the subsidiaries, do they have their own

    18 assets?

    19         A.     That would be an accounting question.          I think

    20 most of the assets are held at the FCID level, but there

    21 are certain assets at the FCMG level, and there might be

    22 one or two assets at the First Choice parent company

    23 level.       And that had to do with some equipment leases

    24 before me that may have occurred in the past

    25         Q.     And these assets that would be held by these
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     1 other companies, they would be used by the other

     2 subsidiaries to generate revenue; is that right?

     3         A.      That's right.

     4         Q.      The companies filed consolidated tax returns;

     5 is that right?

     6         A.      That's right.

     7         Q.      When was the last time -- strike that.          The

     8 consolidated tax returns were filed by First Choice, the

     9 parent?

    10         A.      Yes.

    11         Q.      And when was the last time you filed a return

    12 on behalf of the parent company?

    13         A.      I think '21.

    14         Q.      You believe you filed for '21?

    15         A.      Yes.

    16         Q.      Okay.   What about '22?

    17         A.      No, we have not been able to pay the

    18 accounting firm to do that yet, although it'll be a

    19 requirement to get through the S -- SEC process to do

    20 so.

    21         Q.      And you mentioned that you want to have

    22 something happen next what 20, 30 days; is that right?

    23         A.      Yeah.   The -- the tax return won't take very

    24 much.        We -- we -- we're -- we -- we're in discussions

    25 with them, but to get it released, we're going to have
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     1 to pay, you know, 10, $12,000.           So we -- we'll make, you

     2 know, arrangements for it.

     3         Q.    Okay.   Now FCID Medical, we've gone over it

     4 before, but you just mentioned that it probably holds a

     5 lot of the assets for this enterprise.              Other than

     6 holding the assets, what does it do?

     7              MR. HENDERSON:       Object to form.

     8               BY MR. WOOD:

     9         Q.    What is its purpose?

    10         A.    I -- I -- I don't -- I don't know.           It does

    11 not have a real operational purpose.

    12         Q.    Okay.   And does it have its own books or are

    13 is everything consolidated underneath?

    14         A.    Everything is consolidated.         It's not like,

    15 you know -- listen, inside the system, like QuickBooks,

    16 each company has its own -- its own, let's say, place or

    17 a general ledger.        But the reality is that all of the

    18 revenue or nearly all revenue is generated from FCMG and

    19 the taxes are prepared.           And the company, the revenues

    20 are prepared in a manner in which F -- FCHS, the parent

    21 company, files the tax returns, you know, has the audits

    22 committed for an SEC filing, and it's -- it's viewed on

    23 a consolidated basis.

    24              MR. WOOD:    Okay.     This is -- let's see,

    25       Plaintiff's 9.
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     1               (EXHIBIT 9 MARKED FOR IDENTIFICATION)

     2         A.    Uh-huh.

     3               BY MR. WOOD:

     4         Q.    This is a 42-page document.         I'm not going to

     5 go through everything on this, but what this is a docket

     6 entry 507 --

     7         A.    Uh-huh.

     8         Q.    -- from case number 620BK03355-GER.           This is

     9 the -- a document filed in the jointly administered

    10 bankruptcy.

    11         A.    Uh-huh.

    12         Q.    Do you recognize this document or at least

    13 what it might be?

    14         A.    Yes.

    15         Q.    Okay.     What is this?

    16         A.    Generally in bankruptcy you have quarterly

    17 operating reports showing assets, liabilities, cash in

    18 and out for the business until the time you exit.

    19         Q.    And we're looking at page 3, it shows income

    20 for the period, and there is a quarterly, which is the

    21 fourth quarter of 2021.         And then you have post-

    22 confirmation total, which is February of '21 through

    23 December -- the end of December of '21.

    24         A.    Uh-huh.

    25         Q.    On this document, it's showing $1.4 million in
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     1 receipts during the fourth quarter of '21; is that

     2 accurate?

     3         A.    I assume it's accurate.        It was prepared by

     4 our CFO.

     5         Q.    Okay.     And then the post-confirmation 6.1,

     6 which represents approximately three quarters of the

     7 year?

     8         A.    Yeah, it might be accurate in '21.

     9         Q.    Okay.     Now on page 7, looks like this is -- it

    10 says, "Cash debit check disbursement details."               What is

    11 this?

    12         A.    Those are checks that went out.

    13         Q.    Okay.     And on here, the very first item, for

    14 instance is your name for $16,000.

    15         A.    Uh-huh.

    16         Q.    You see that?

    17         A.    Uh-huh.

    18         Q.    What is this payment?

    19         A.    Probably money -- it's money I loaned to the

    20 business, or I laid out to the business to pay who knows

    21 what.

    22         Q.    Okay.     Do you recall how much money you

    23 received from the business in the fourth quarter of '21?

    24         A.    No.     I don't know how much money I put in.

    25 Like, sometimes I put in 100 -- I know, back then I
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     1 might have put in 300 grand in that short time period.

     2         Q.    Okay.

     3         A.    And -- and I invested in certain of the rounds

     4 with other investors as well, but I wouldn't have gotten

     5 paid back from that.

     6         Q.    And in here, there's also intercompany

     7 transfers.      For instance, the very first one I see here

     8 is FCID Medical Incorporated.           It says, "intercompany

     9 transfer, $200,000."         That's money going from the parent

    10 company to FCID, correct?

    11         A.    Yes.

    12         Q.    Do you know what this $200,000 would've been

    13 for in --

    14         A.    No.

    15         Q.    -- October of '21?

    16         A.    I -- I -- I would not know that without having

    17 to investigate it.         I would've no idea.

    18         Q.    And down here we have a Blackstone Capital

    19 Advisors.      This is your company, right?

    20         A.    Uh-huh.

    21         Q.    Yes?    Is that yes?

    22         A.    Yes -- yes, sir.

    23         Q.    Thank you.     What was this 500 -- or sorry,

    24 what was this $5,000 for?

    25         A.    To my knowledge, any operating expense would
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     1 be a repayment of a loan, and in some cases to the

     2 physicians, they wanted in advance.            So they needed

     3 money and I paid physicians directly and I got money

     4 back as money came in.

     5         Q.      Are you saying that you paid employees

     6 directly out of your personal expenses?

     7         A.      Yes.

     8         Q.      Why would you do that?

     9         A.      Because they whine loud enough, and it was

    10 only physicians.

    11         Q.      Okay.

    12         A.      You know, I have -- I have seven classic cars

    13 and it cost me a lot to move them down and blah, blah.

    14 You know, because they all got sign-on bonuses and

    15 things like that.        And, you know, they got half and half

    16 and they were complaining we were late on the second

    17 half.        So you know, I didn't want them distracted

    18 because the company relied on them and things like that.

    19         Q.      What's Mr. Advance?

    20         A.      Those are loans, you know, loans, certain

    21 types of merchant cash advances that I knew people in

    22 the business that could bring capital into the company

    23 so long as I personally guaranteed it.             So those are

    24 daily polls to repay those loans.

    25         Q.      Now I went through the items here in the
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     1 document and it looks like you paid -- you were paid

     2 just over $127,000 during this fourth quarter.

     3         A.    Hence why I owed $800,000.

     4         Q.    Now at the same time, the company was having

     5 financial issues and unable to pay obligations such as

     6 insurance, right?

     7         A.    I have no idea.      I don't maintain the

     8 payables. I get a report, but I don't make decisions on

     9 what we're paying.

    10         Q.    Well, we know that Florida Blue was canceled

    11 effective as of --

    12         A.    The issue is I said, "If you want me to pay

    13 this, then I need the money back.            I'm not being

    14 compensated for this."         So they said, "Yes, can you

    15 please pay it?       We'll pay you back."        And -- and they

    16 paid me back as a percentage.           Unfortunately, I'm still

    17 owed $800,000 as well as I have other issues with

    18 personal guarantees that I'm paying off personally now.

    19 And while I understand what you're trying to get at, I'm

    20 just an employee like they are.           I'm not an owner.       I

    21 have no benefits right now in being employed.

    22         Q.    Do you recall how much you received, say,

    23 first quarter of '22?

    24         A.    No.   I would suggest I was putting money in

    25 and not getting anything back only because our financial
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     1 status became worse and worse because we were no longer

     2 providing medical services that feed the ancillary

     3 services.      That was beginning to go down.

     4         Q.    Now, you would agree that the plaintiff says

     5 employees were also putting into this company in this

     6 form of working for them, right?

     7              MR. HENDERSON:     Object to the form.

     8         A.    I would agree.      Like myself, we were all

     9 trying to succeed so that there was a future at the

    10 company for everyone that wanted to stay there.               And in

    11 that regard, they invested.

    12               BY MR. WOOD:

    13         Q.    Are you -- are you -- is it your position that

    14 the employees were investors as opposed to --

    15              THE WITNESS:     No --

    16               BY MR. WOOD:

    17         Q.    -- employees?

    18         A.    -- you said that, not me.

    19         Q.    Well, you said that they invested.

    20         A.    Well, no.     In that regard, based upon your

    21 leading question, yes.         They became short-term

    22 investors.      But they're -- they're not investors.

    23 They're owed wages and, you know, I don't know the

    24 amounts of them, but they're obligations of the company.

    25              MR. WOOD:    I -- I'm sharing what we're marking
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     1       Plaintiff's 10.

     2               (EXHIBIT 10 MARKED FOR IDENTIFICATION)

     3               BY MR. WOOD:

     4         Q.    Plaintiff's 9 was the Bankruptcy Report.            This

     5 is an eight-page document here.           When I asked for the

     6 financials of the companies, this is -- I received eight

     7 pages.

     8         A.    Uh-huh.

     9         Q.    Is it safe to assume that these companies have

    10 more than eight pages of financials for the 2021, 2022

    11 periods?

    12         A.    I -- I don't know what they have.          They would

    13 have tax returns, which will probably I would assume

    14 more than eight pages.

    15         Q.    Okay.     And here is an application for an

    16 extension of the I believe '21 and '22 returns.               Do you

    17 recognize these documents?

    18         A.    No.

    19         Q.    Okay.     We were also provided with this

    20 Consolidated Unaudited Statement of Operations.               Do you

    21 recognize this document?

    22         A.    Yes.

    23         Q.    And this would've been comparing looks like

    24 2021 with 2020?

    25         A.    Correct.
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     1         Q.    And it shows the total revenues in '21 of $1.7

     2 million.

     3         A.    Uh-huh.

     4         Q.    Now these are net revenues, right?

     5         A.    That's correct.

     6         Q.    Is there a document, for instance, like a

     7 profit and loss, which would show the gross revenues?

     8         A.    No, because the way medical is done, which

     9 I've come to learn, if you are going to collect a $100,

    10 you bill $400.        That's the practice because they set the

    11 rates from the -- the gross billing.             It's not

    12 considered revenue.

    13         Q.    So the --

    14         A.    It's unique to the healthcare service

    15 industry.

    16         Q.    The net patient service revenue, would this be

    17 the money actually received by the entity?

    18         A.    The money that's been agreed to get paid out,

    19 received or still uncollected --

    20         Q.    Okay.

    21         A.    -- to be received.

    22         Q.    This rental revenue.       What is this?

    23         A.    That was at the time we had subleases at our

    24 prior location and that was rental income we collected.

    25         Q.    And you would agree that the revenues for this
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     1 period were over $500,000, right?

     2         A.    Say it again.

     3         Q.    You would agree that the revenues during this

     4 timeframe were greater than $500,000?

     5         A.    Well, yes, it's 1,700,000.

     6              MR. WOOD:    Let's take ten minutes.

     7              THE WITNESS:     Sounds good.

     8              MR. WOOD:    12:15.

     9              THE WITNESS:     Okay.

    10              MR. WOOD:    12:20.      You have a preference?

    11              THE WITNESS:     No, what everybody wants.

    12              MR. HENDERSON:     Yeah.     It's up to you, Joseph.

    13              MR. WOOD:    Let's do 12:15.

    14              MR. HENDERSON:     All right.

    15              THE REPORTER:     All right.     Give me.     One

    16       second.    I'll take us off record.

    17               (OFF THE RECORD)

    18              THE REPORTER:     Okay.     Back on record.

    19              MR. WOOD:    All right.      Thank you.     We are back

    20       after a brief break, and I'm going to show you what

    21       we're marking as Plaintiff's 10.

    22              THE REPORTER:     I think this is 11.        I'm sorry.

    23              THE WITNESS:     Yeah.     Can you hold one second?

    24       One second.

    25              MR. WOOD:    You are right.      It's 11.     Thank you.
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     1              THE WITNESS:      Apologies.    Okay.

     2              MR. WOOD:      All right.   We'll start -- try this

     3       again.     I am showing you what's marked as

     4       Plaintiff's 11.

     5                (EXHIBIT 11 MARKED FOR IDENTIFICATION)

     6         A.     Uh-huh.

     7                BY MR. WOOD:

     8         Q.     This is an investor presentation for the first

     9 quarter of '22.          Do you recognize this?

    10         A.     Yes.

    11         Q.     And this would've been something that was put

    12 out during your tenure with the company, right?

    13         A.     Yes.

    14         Q.     Did you put this together?

    15         A.     We put it together with bankers,

    16 professionals, people at the company like Phil Keller,

    17 myself.

    18         Q.     Okay.

    19         A.     So yeah.

    20         Q.     And through here they talk about the

    21 structure. It says that the First Choice is integrated

    22 orthopedic surgery, sports medicine, conventional pain

    23 rehab, diagnostic imaging.          This is what the business

    24 was in '21 and '22, right?

    25         A.     No.
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     1         Q.    No?

     2         A.    This is what -- if you read there's -- let's

     3 go to the -- this slide before.           "This presentation

     4 includes forward-looking statements and projections

     5 which involve numerous risks and uncertainties."                That's

     6 what we want it to be.         And for most of it, we did hire

     7 the orthopedic surgeons.          One was a sports medicine

     8 surgeon.      And I would say through -- through some of

     9 that portion, we achieved many of those things that you

    10 see there --

    11         Q.    Okay.

    12         A.    -- for a -- a very limited period of time.

    13         Q.    Now you're saying that this is a forward-

    14 looking statement.        This is what you want to be.

    15         A.    The answer was yes, at this time.

    16         Q.    Okay.

    17         A.    And that we did achieve nearly all of those,

    18 if not all of those for a very limited amount of time.

    19         Q.    I guess my confusion is: Why does it say that

    20 it is this as opposed to it strives to be something like

    21 that?

    22         A.    Well, that's what we were -- that's -- that

    23 was the business plan.         So we did hire, as I said, all

    24 of the orthopedic surgeons.          One was a sports medicine

    25 surgeon.      We do -- did in -- interventional care and
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     1 pain.        We had physical therapy.     At that time, we had an

     2 MRI and other ancillary services.            We did do some

     3 regenerative services.         We had an occupational health

     4 doctor, and we opened the ortho walk-in clinic and

     5 closed it pretty rapidly because we didn't have the

     6 funds.

     7         Q.      Okay.   And here on the next page, we -- kind

     8 of says the same thing.         It says in third quarter of

     9 '21, you added the regenerative services, occupational

    10 health and ortho injury --

    11         A.      Yep.

    12         Q.      -- walk-in clinic.     It talks about your six

    13 main sources of future revenues.            At the time that this

    14 was put out in the first quarter of '22, how many of

    15 these were your actual sources of revenue?

    16         A.      We had just began.     And as I mentioned in

    17 physicians, they -- the physicians we brought in to

    18 probably deliver 90 -- 80 percent of the revenue.                They

    19 burned through seven million in cash and brought 300,000

    20 in.     So --

    21         Q.      When you say, "burned through seven million in

    22 cash," how did they do that?

    23         A.      The way physicians are paid is they develop a

    24 practice.        They set their own draw.      Most of the draws

    25 were in the four, $450,000 range.            Then they surround
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     1 themselves and pick what type of surgical implants,

     2 different things they want as part of their practice.

     3 They could use more expensive or less expensive.                And

     4 they also picked who they have around them in terms of,

     5 you know, an MA or other support people in their

     6 practice.        Once that is done, they -- let's say they're

     7 taking 450.        It might cost to operate that practice 650

     8 to $700,000.        And the deal is that once you get past the

     9 $700,000, you go to negotiate the deal.             Could be 50/50,

    10 55-45, depending on the doctor on the balance of the

    11 revenue once we recapture the money, and if we don't

    12 recapture the money and they stay, we can take the 450

    13 and knock it down to 200 grand and start paying

    14 ourselves back 200 grand to -- to recapture money

    15 because he didn't meet goals or criteria in that first

    16 year.        And so the problem is that nobody wanted to repay

    17 and nobody was going to stay.           And they essentially, you

    18 know, if you -- if you add up seven surgeons that are

    19 burning, you know, without overhead -- without overhead,

    20 $7 million, six, $7 million, you know, $6 million, $7

    21 million and then attribute the overhead to it, they ate

    22 up -- they ate up most of the money.

    23         Q.      Okay.   On the next page, there's a timeline.

    24 This states that in September of '21, you close in your

    25 first acquisition of Emerge Pharmacy.
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     1         A.    Uh-huh.

     2         Q.    And it mentioned 5.1 million in capital

     3 raised. What's that?

     4         A.    That's capital raised.

     5         Q.    Okay.     So you were -- did First Choice

     6 purchase a pharmacy?

     7         A.    We did, and we liquidated it.         We purchased it

     8 for 150,000 and we liquidated that.

     9         Q.    When was that liquidated?

    10         A.    A year or two ago.       Very quickly.

    11         Q.    Okay.     And this public offering in March of

    12 '22, that has not happened?

    13         A.    That was the goal.       And that was basically

    14 held up due to audits, and we had to hire a whole new

    15 auditor to do it again.         Those financials are complete

    16 now, and we did a -- a business plan change essentially

    17 to primary care, small little primary care clinic.                So

    18 we have a -- we had a -- an acquisition for this, which

    19 was related to us.         We've let go of that acquisition.

    20 We're doing a different acquisition, a completely

    21 different area of medical where we don't even really

    22 hire any physicians.         They're all physician's

    23 assistants.      It's primary care with a focus on weight

    24 loss, anti-aging, and things like that.             It's basically

    25 a retail approach to medical service -- you know,
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     1 services where we -- we are going to be offering very

     2 high -- high-end, anti- aging, hormonal replacement, and

     3 other types of therapies where the margins are double of

     4 what we were getting.         And that particular business

     5 comes with two fully developed, if you know what the

     6 difference is, closed door, compounding pharmacies,

     7 which can manufacture their own drugs.

     8         Q.    And the idea is --

     9         A.    So for example, they can -- they can

    10 manufacture Semaglutide under their own brand.               And --

    11 and you know, it's a different formulation, but using

    12 Semaglutide is a -- an active ingredient for weight loss

    13 as opposed to Ozempic, which has a specific formulation

    14 offered by, you know, a -- whoever makes that.

    15         Q.    And because you have previously been a

    16 publicly traded company, that's why there's some value

    17 in this entity for you to --

    18         A.    Exactly.    Because we'll be able to go into the

    19 market based not on our business, on another business

    20 that's doing very well and raise capital, you know,

    21 merge them in, and, you know, go with that business plan

    22 forward.

    23         Q.    Okay.

    24         A.    The business plan we're looking at now no

    25 longer exists.        There's no orthopedics that will be
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     1 performed.

     2         Q.      Now the statement here at the very least where

     3 it says, "Post-reorganization, we are rebranding

     4 ourselves Emerge Healthcare."             That was true at the

     5 time, right?

     6         A.      At the time.     It's not true now.     We're not

     7 going to be using that.

     8         Q.      There's a chart here that says the, "payor

     9 mix."        Was this accurate as to the payors at the time

    10 this was put out in the first quarter of '22?

    11         A.      Yes -- yes.

    12         Q.      Okay.   And you were receiving money from -- we

    13 went over Medicaid.           Medicare was a very large --

    14         A.      For Medicare.     I know for a time we applied

    15 for a bond to do Medicaid, but when we stopped doing

    16 real medical services, I don't think we maintained that

    17 anymore.        We don't do any Medicaid.

    18         Q.      And you did business with Aetna, Health

    19 First --

    20                THE WITNESS:     Uh-huh.

    21                 BY MR. WOOD:

    22         Q.      -- Tricare.     Tricare is for military personnel

    23 and their families; is that right?

    24         A.      I believe so.

    25         Q.      Cigna, United Health.       There's also a mention
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     1 of veterans under here.           Is this VA care?

     2         A.      Yeah, I would assume so.

     3         Q.      And BCBS; that's Blue Cross Blue Shield?

     4         A.      Yes.

     5         Q.      Okay.     What is the contracted commercial?

     6         A.      I don't know.     That could be where we had,

     7 like, an occupational health contract, for example, with

     8 L3Harris to do ergonomics and different studies for

     9 their warehousing personnel.           So we had some contracts

    10 like that, or we had contracts with Carnival Cruise

    11 Lines at one time that we were doing PT for the

    12 personnel on a ship when they came to shore, there's two

    13 or three -- 2,000 employees on the ship and things like

    14 that.        We're no longer doing those.

    15         Q.      I want to get into the cruises in just a

    16 second.        But here it talks about Coastal Pain

    17 Acquisition.           There's a LOI in place.    So that --

    18         A.      Terminated -- terminated.

    19         Q.      And you were credentialed to accept Medicaid.

    20 We discussed that.

    21         A.      Uh-huh.

    22         Q.      And you had durable medical equipment

    23 distribution.           Can you explain that?

    24         A.      Yeah.     If somebody came in and needed their

    25 knee splinted, we'd -- we'd -- we'd sell them crutches
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     1 as part of the treatment.

     2         Q.    And where did the crutches come from?

     3         A.    Could have come from Henry Schein or some

     4 other vendors.

     5         Q.    Okay.    And Henry Schein, that's a New York

     6 company --

     7         A.    Yeah.

     8         Q.    -- right?

     9         A.    No, I -- I guess.      I don't know their

    10 incorporation.

    11         Q.    How many employees did you have within the

    12 durable medical equipment --

    13         A.    None.

    14         Q.    -- division?

    15         A.    None.

    16         Q.    Excuse me?

    17         A.    I don't believe any.       It was just something we

    18 ordered and kept.         It -- it -- it didn't require a

    19 person to be a gatekeeper.

    20         Q.    Okay.    Was there somebody who was selling

    21 these products, though?

    22         A.    Yeah, doctor.     A doctor would prescribe it.

    23 You have a broken leg, here's the cast, you need

    24 crutches.

    25         Q.    And --
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     1         A.    You go in the back and get the crutches.

     2         Q.    Do you know how many doctors would've been

     3 doing this during this timeframe?

     4         A.    Unfortunately, I would think none of them or

     5 very few of them because they didn't generate any

     6 revenue.

     7         Q.    Okay.   How many doctors did you have working

     8 for you at the time?

     9         A.    I think at our peak, we had seven.

    10         Q.    And in the end of '21 --

    11         A.    Just to give you an order of magnitude, seven

    12 doctors should do somewhere around, even taking, you

    13 know, some higher-income areas, should have done 14

    14 million in revenue.        And aggregately, they did 353,000,

    15 roughly.

    16         Q.    That's gross revenues?

    17         A.    Yeah.   That's -- no, actually, that should

    18 have been collected revenues.

    19         Q.    Okay.

    20         A.    That's collected.

    21         Q.    And the crutches, the splints, for instance,

    22 those would've been under the orthopedic?

    23         A.    Yeah, that would be under, yeah, orthopedics,

    24 sure, care.

    25         Q.    How many orthopedic doctors did you have
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     1 working for you at the time?

     2         A.    That did some form of orthopedics, seven.

     3         Q.    Seven.     Okay.   And as part of their practice,

     4 they would've utilized x-ray machines, MRI machines; is

     5 that right?

     6         A.    Uh-huh.

     7         Q.    Yes?

     8         A.    Yes.

     9         Q.    Okay.     And did First Choice have their own

    10 equipment to do those types of procedures --

    11         A.    At that time they did, yes.

    12         Q.    Do you recall the company that manufactured

    13 the x-ray machines?

    14         A.    I think it was GE.

    15         Q.    Okay.     And what about the MRI machine?

    16         A.    I think that might have been GE also.

    17         Q.    And you would've had x-ray technicians to

    18 perform those services, right?

    19         A.    Yes.

    20         Q.    And those were -- those techs were employed by

    21 First Choice, right?

    22         A.    I believe they were probably employed by First

    23 Choice Medical Group of Brevard or FCID.              I -- I don't

    24 know which one.

    25         Q.    And the pictures that would be produced by
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     1 these machines, were they actual film, or were they a

     2 digital picture that was processed?

     3         A.    I assume they were digital pictures that went

     4 into a PACS system that was read by a contracted doctor,

     5 not included in that seven-doctor group I gave you.

     6         Q.    Okay.

     7         A.    He was not an employee.        He was paid for -- as

     8 a radiologist for reading each, you know, x-ray or MRI

     9 or whatever we'd have.

    10         Q.    And this contracted doctor, how would he

    11 receive the pictures?

    12         A.    They -- I -- I don't know.         He'd come in and

    13 read them, come physically into the -- the clinic and --

    14 and read them.

    15         Q.    He didn't do this remotely?

    16         A.    No, I don't believe so.

    17         Q.    Okay.   The -- you mentioned that you launched

    18 cash pay resources for patients.            Can you explain that?

    19         A.    We launched that.      That was more of the stem

    20 cell and regenerative medicines that we were doing as

    21 well as, you know, some diet plans and different things

    22 like that.

    23         Q.    And this would've been a way for the patients

    24 to pay for those services?

    25         A.    It was cash -- well, yeah.         I mean, they could
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     1 pay cash.      We didn't really accept cash except for our

     2 copays.      And these were cash-based services that we were

     3 providing, but we only provided them for a very short

     4 time.

     5         Q.    And did they have the option to pay online?

     6         A.    I don't think we had that kind of capability

     7 yet in our website.

     8         Q.    Now here you mentioned the cruise line

     9 partnerships that we briefly touched on.              Can you

    10 explain what those services were?

    11         A.    They were utilizing physical therapy services.

    12 So you know, Royal Caribbean docks at Cape Canaveral,

    13 passengers disembark.         The -- it's going to be there a

    14 few days.      The captain, people, different people, I have

    15 a tweaked back.         I twisted my ankle.      They would come

    16 for physical therapy services.

    17         Q.    So these would've been employees on the ships

    18 that were --

    19         A.    Uh-huh.

    20         Q.    -- docking at Port Canaveral, right?

    21         A.    That's right.

    22         Q.    Okay.     And they would come in -- you had a

    23 contract with the --

    24         A.    The cruise line.

    25         Q.    -- the cruise line itself to treat their
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     1 employees while they're at dock?

     2        A.     Uh-huh.

     3        Q.     -- at port?      Okay.    And let's see, Royal

     4 Caribbean, Norwegian Carnival, and MSC, did you have

     5 contracts with each of those?

     6        A.     I'd have to double-check that, but if we wrote

     7 it, that means we did.

     8        Q.     Okay.     You mentioned, you know, Brevard County

     9 Schools, Satellite Beach Fire Department.                Did you have

   10 similar types of contracts with these entities?

   11         A.     Yes.

   12         Q.     So for Brevard County Schools, did you have a

   13 -- an agreement with the school board to treat teachers

   14 or employees?

   15         A.     I don't know if it was an actual contract or

   16 some sort of letter agreement where -- or they asked.

   17 I'd have to double-check that.             I'm not sure.

   18         Q.     Some of the plaintiffs worked jobs like the

   19 front desk, correct?

   20         A.     I don't know who they are, but I know we had

   21 front desk people.

   22         Q.     Okay.     The employees, were they issued e-mail

   23 addresses?

   24         A.     I believe so, if they were employees.

   25         Q.     Okay.     And they would've utilized that to
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     1 communicate internally with other employees of the -- of

     2 First Choice, right?

     3        A.     On business, they -- yeah.          They would use

     4 their e-mail for business purposes to communicate with

     5 other employees.

     6        Q.     And for instance, buying medical supplies from

     7 Henry Schein, who would've been involved with that?

     8        A.     We had an employee at that time named Kim

     9 Bean, who my understanding, lives off the grid at the

   10 top of Michigan in a tiny home with no services.                   She

   11 used to handle all that, including the credential,

   12 managing the clinic, and maintaining all the

   13 relationships with -- with DME and the like.

   14         Q.     So is it Beam, B-E-A-M?

   15         A.     I think it may be B-E-A-N.

   16         Q.     N.   Okay.    Bean.    So Ms. Bean lived in

   17 Michigan?

   18         A.     No, she lived -- when she was with us, she

   19 lived, I think, in the Melbourne area.

   20         Q.     Okay.

   21         A.     Now my understanding is, not to over-

   22 exaggerate, but she literally lives like Grizzly Adams

   23 somewhere in an undeveloped area of Michigan.                  You could

   24 laugh, but I'm telling you I --

   25         Q.     No, I know.
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     1        A.     It -- it is --

     2        Q.     Sounds like one of those TV shows.

     3        A.     It's like, yeah, her husband wanted to live --

     4 my understanding is -- she was very capable.                 Her

     5 husband wanted to live off the grid because she left a

     6 long time ago, and -- and probably we were just -- you

     7 know, and -- and -- and services ended up ending anyway.

     8 But her husband wanted to, like, eat off the land and

     9 live off the grid with, like, a coal stove and all this.

   10 And they found some crazy place like on the Canadian

   11 border in the middle of nowhere.              It has, like, snow

   12 until June.        It's just some crazy place.          And, you know,

   13 to each his own.

   14         Q.     Okay.    So she would've been the purchase --

   15 person to purchase the --

   16         A.     Yeah.

   17         Q.     -- supplies?

   18         A.     She -- she used to do a lot of very important

   19 functions, like credentialing doctors, you know, led

   20 that charge.        She used to develop the relationships,

   21 where to find these physicians and doctors.                 And same

   22 thing with, like, durable medical equipment, there was

   23 distributors, different people, brokers.                And she used

   24 to help order those things as well as other types of,

   25 you know, drugs that we may have used on -- on site, for
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     1 example, you know, simple injections, things like that.

     2 You know, spine injections, you need certain types of

     3 injectables and -- and -- and things like that.

     4        Q.     The credentialing, can you explain that, what

     5 that process is?

     6        A.     Well, doctors can't be billed, and you can't

     7 collect for their services unless they're approved and

     8 credentialed with the state and -- and then with -- on

     9 surgeries, with other surgical providers.                They have to

   10 be credentialed and approved by, let's say Steward

   11 Health, who's local in the area, or Health -- Health

   12 First or the surgical center down the block.

   13         Q.     And the doctors that you'd --

   14         A.     They need privileges, you know.            They got to

   15 be credentialed to get privileges.

   16         Q.     The doctors that you would find, where would

   17 you find these physicians?

   18         A.     One was a known local physician.            The rest

   19 came through recruiters and outside the area.                  Some of

   20 them were already Florida based.              Many of them had a --

   21 Florida licenses, despite the fact they didn't live in

   22 Florida --

   23         Q.     Okay.

   24         A.     -- and were going to move down.

   25         Q.     So you would be negotiating with these doctors
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     1 that were outside the states to come into Florida?

     2        A.     In some cases, they -- they were going to move

     3 there and be full-time employees.

     4        Q.     Okay.

     5        A.     You know, during COVID, many of them decided

     6 to get out of places like New York and some of the

     7 Northeast and countries, Midwest, things like that.

     8        Q.     And before they come, you would've negotiated

     9 with them via e-mail, over the phone, things like that?

   10         A.     Well, yeah, they usually fly in, stay a day or

   11 two, look at the facility, look at -- you know, look at

   12 -- you know, talk about what they -- like any interview,

   13 why they're going to be different and how great they're

   14 going to be and negotiate their contract.

   15         Q.     The durable medical equipment, was Henry

   16 Schein your only supplier of those?

   17         A.     No.     I -- I don't even know.        It was such a

   18 small part of the business.             We did such little of it,

   19 but particularly when I got there because there was no

   20 doctors, so we weren't even using any.                You know, for a

   21 period of time when I was there, we didn't even have to

   22 order any.        So we really didn't rekindle those

   23 relationships until after all these other surgical and

   24 orthopedic care physicians came on board.

   25         Q.     Now you mentioned drugs or injectables. Where
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     1 would those have been purchased from?

     2        A.     I don't know. It could be Henry Schein for

     3 some of it, I believe. But there could be other places

     4 as well.

     5        Q.     Do you -- do you know the companies that

     6 would've manufactured these drugs?

     7        A.     No.

     8        Q.     Is it safe to say that they are presumably

     9 located outside the State of Florida, the manufacturer

   10 of these drugs?

   11         A.     I don't like to speculate. I don't have any

   12 idea where they're made. They could be made in China for

   13 all I know. I don't know.

   14         Q.     There's a patient portal through Aetna --

   15 Athenahealth. Are you familiar with the patient portal?

   16         A.     Yeah. Athenahealth is our electronic medical

   17 record and billing system.

   18         Q.     Okay. Do you know where Athenahealth is

   19 located?

   20         A.     I do not.

   21         Q.     And this was a -- an online service they

   22 provided?

   23         A.     Well, they do billing and collections, and

   24 they do maintain electronic medical records.

   25         Q.     And where were the records stored?
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     1        A.     On Athena's servers, I -- and our own servers.

     2        Q.     And you accepted credit card transactions,

     3 correct?

     4        A.     Yes. I don't know if we accept them any

     5 longer.      Well, I just don't -- I don't know that we

     6 accept them any longer.

     7        Q.     And --

     8        A.     But we did at that time.

     9        Q.     Yeah. And we're really focused on what

   10 occurred in late '21, all year '22. I understand things

   11 have changed since then, but we're trying to focus on

   12 what was happening at that time. And at that time, you

   13 were providing services to patients and --

   14         A.     Yes.

   15         Q.     -- presumably collecting payments?

   16         A.     Uh-huh.

   17         Q.     And many of those payments, the majority of

   18 them presumably came via credit cards for the patient

   19 portion and then through billing of the insurance

   20 companies for the other portion, right?

   21         A.     That's correct.

   22         Q.     Did the -- did the defendants have credit

   23 cards themselves, the companies?

   24         A.     Not that I'm aware of.         Not since I've been

   25 there.
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     1        Q.     Would you have had a card to make purchases of

     2 certain items like supplies?

     3        A.     I might have been on a debit card, but

     4 generally speaking, I -- I -- I left them in the office

     5 somewhere.       Like, I don't use them, but yeah, they have

     6 -- they have a -- to my knowledge, you know, if they

     7 needed a ream of paper, if they needed to buy a few

     8 thousand dollars, at the time, of supplies, they might

     9 have used one of the debit cards from an account.

   10         Q.     Okay.    Did any of the employees travel for

   11 their work such as any of the physicians going to CLEs,

   12 or I guess not CLEs -- CLMs?

   13         A.     I think we sent some of the --

   14         Q.     CMEs?

   15         A.     I think we sent just, you know, physicians and

   16 certain people, we paid for to get certified in certain

   17 areas.       And we -- we -- we -- in their contracts, they

   18 got paid for CLE and things like that.

   19         Q.     Okay.

   20         A.     I don't know which ones or not, but, you know,

   21 we did that with physical therapists. For example, we

   22 were told we would get more referrals if we had somebody

   23 on staff for lymphedema -- lymphedema. And so we sent

   24 somebody to Orlando. In my case, the company might

   25 reimburse me for spending four days in New York with
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     1 investment bankers at the time and things like that,

     2 so --

     3         Q.    And I was going to ask about your travel.

     4 Presumably, you traveled throughout the country

     5 discussing investments with --

     6         A.    No.

     7         Q.    -- banks or investors?

     8         A.    No, I -- I -- I -- I do that mainly on phones,

     9 and I haven't had to expend resources to do that

   10 because, you know, money was tight.               So you know, phones

   11 work too, and I've had very limited travel, very.

   12          Q.    Okay.     So your travel was, like I said,

   13 limited, and this would've been during a post-COVID.

   14          A.    Uh-huh.

   15          Q.    So you would've utilized the phone lines, Zoom

   16 meetings?

   17          A.    I hate --

   18          Q.    Is that right?

   19          A.    I hate Zoom, but yeah, if I have to, I -- I

   20 use Zoom.

   21          Q.    Okay.     The subsidiaries, do they have their

   22 own independent capital?

   23          A.    No.

   24          Q.    And they generated revenues, but the revenues

   25 went up to the parent, First Choice, right?
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     1        A.     I don't make -- I don't make those decisions,

     2 I guess, what needs to be paid.             And -- and this, I'm

     3 not talking about today, in general.              I don't know that

     4 they move the revenues anywhere.             So you know, if the

     5 money's coming into FCMG, right, Medical Group of

     6 Brevard, if there's ten employees historically at FCID

     7 during this period in time, they would move money to

     8 FCID to pay those employees.            If there's some

     9 administrative or some other people that need to get

   10 paid at -- at First Choice Healthcare Solutions, they

   11 move money there.          But -- but, you know, for all intent

   12 and purpose, there is no revenue.              Or -- or, like,

   13 Marina Towers, Marina Towers would collect the rent when

   14 it actually had rent.           And they wouldn't transfer

   15 anything because they had $112,000 rental payment due,

   16 which they were always short on at that time.                  So if you

   17 could think about you showed me a financial statement

   18 where they collected 260,000, you know, it was a million

   19 dollars a year of rent.           So there was an $800,000

   20 shortfall.        So money might get transferred over there.

   21         Q.     The -- if there was a shortfall from one

   22 company, money would be transferred from another company

   23 to make up for that shortfall?

   24         A.     I would -- I would -- yeah.          To, you know --

   25 to, you know -- to be able to not be evicted at -- at
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     1 some point in time.

     2         Q.    Sure.     And along those same lines we discussed

     3 earlier, there's joint tax returns that were filed,

     4 right?

     5         A.    Uh-huh.     Consolidated tax returns, yes.

     6         Q.    And based on the leadership page we looked at,

     7 it looks like each of the entities had joint leadership.

     8 You were the CEO of all the corporations, manager of the

     9 LLCs?

   10          A.    Uh-huh.

   11          Q.    You and Phil led all of the companies, right?

   12          A.    Along with the board, yeah, the direction at

   13 the board.        We served at the direction of the board.              We

   14 went -- we had 8:00 in the morning calls virtually every

   15 day for a couple of years during the bankruptcy.

   16          Q.    And each of these subsidiaries, excluding, of

   17 course, Marina Towers -- Marina Towers, their purpose

   18 was to rent and sublease property, right?

   19          A.    And provide space for First Choice Healthcare

   20 Solutions and its subsidiaries to operate.

   21          Q.    Yeah.     But the other companies, FCID --

   22          A.    Yeah, that's correct.

   23          Q.    -- the Medical Group, and First Choice itself,

   24 the primary business purpose is to provide medical

   25 services to patients, right?
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     1        A.     That's correct.

     2        Q.     They all -- they all have the exact same

     3 purpose --

     4        A.     Yes.

     5        Q.     It's just doing its -- in -- through different

     6 corporate structures, right?

     7        A.     Yes.

     8              MR. HENDERSON:      Object to form.

     9               BY MR. WOOD:

   10         Q.     We talked about the employee contracts, and I

   11 don't mean a written contract.             I mean, an employment

   12 agreement, you know, that they would work for a hourly

   13 rates, and there was other benefits involved.                  We talked

   14 about health insurance, PTO, paid days off.                 Were there

   15 any other benefits that the employees might have had?

   16         A.     Not that I'm aware of.

   17         Q.     Okay.    The PTO, do you know how that was

   18 accumulated?

   19         A.     According to the company policy that had been

   20 in effect for many years.            I -- I -- I'm not sure the

   21 exact -- how many -- how -- how long you had to serve to

   22 get certain amount of weeks off or days off.                  I -- I --

   23 I don't know that, per se.

   24         Q.     The PTO that was accumulated by these

   25 employees, that is reflected on their paychecks, right?
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     1        A.     I believe it is, yes.

     2        Q.     And is it the policy that -- that would be

     3 paid out upon the termination of these employees?

     4        A.     I believe it is, so long as they gave whatever

     5 the notice is under their employment -- acceptance of

     6 employment, which was generally my understanding, like a

     7 letter or some sort that you're going to return your

     8 materials, return your laptop, you know, all that,

     9 you're going to give X amount of days notice and things

   10 like that.

   11         Q.     Now, in the situation we have here where you

   12 have a number of employees who weren't being paid any

   13 wages, despite the fact that they were working weeks on

   14 end at times, are -- would you take the position that

   15 they still had to give you two weeks' notice despite the

   16 fact that they'd been working for weeks not being paid?

   17         A.     Well, not -- I -- I don't have any position

   18 other than that's -- that's something I guess that'll

   19 get litigated.         It's an issue.      And it might be -- I

   20 don't know if it's contract issue, a statutory issue,

   21 but someone's going to litigate it, I -- I suppose.

   22         Q.     These letters that you referenced, do you have

   23 you reviewed these letters?

   24         A.     Well, most of the people, they were in effect

   25 long before I was there, but I have -- I've seen one or
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     1 two over a period of time.

     2        Q.     Have you produced them to your attorney?

     3        A.     I believe they did, and I don't know that

     4 everybody has them.

     5        Q.     Okay.

     6        A.     I -- I -- I -- I -- I -- well, I would assume

     7 they did.

     8        Q.     But you don't know for sure?

     9        A.     I don't know for sure because I -- I haven't

   10 seen all the discovery assembled at Counsel.

   11         Q.     And this presumably would've been within a

   12 personnel file?

   13         A.     Yes.

   14               MR. WOOD:     I'm going to show you what we'll

   15        mark as Plaintiff's 12.

   16                (EXHIBIT 12 MARKED FOR IDENTIFICATION)

   17                BY MR. WOOD:

   18         Q.     And this was a document that was produced

   19 during discovery.          It's a Florida Blue.        It's says,

   20 "Large Group Employer Application," seven pages long. Do

   21 you recognize this document?

   22         A.     No, not particularly, no.

   23         Q.     Do you know what it was for?

   24         A.     Well, it says, "large group employer

   25 application."          We were seeking health insurance at
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     1 Florida Blue.

     2        Q.     And it says here, you know, you've got Florida

     3 -- First Choice Medical Group --

     4        A.     Uh-huh.

     5        Q.     -- 26 employees.       First Choice Health

     6 Solutions, Incorporated, as the parent of three and

     7 FCID, it also was 26.          In fact, it lists the same tax ID

     8 number.      Can you explain that?

     9        A.     No, I cannot.      Although I know probably at

   10 that time, we -- we -- we -- we had more than 29

   11 employees. So you know, as I mentioned, I thought at all

   12 times applicable, and we -- we probably had anywhere

   13 from 45 to 60 people at that time in '21.                 And so I just

   14 don't -- I didn't prepare this, so I don't know.

   15         Q.     Okay.     When you were under this group plan --

   16         A.     Uh-huh.

   17         Q.     -- who was responsible for the COBRA notices?

   18         A.     It would be someone in HR, so it might be Ruby

   19 Rosado or Gillian Lee.

   20         Q.     And is the same true for the United plan?

   21         A.     I would say yes, other than at the time that

   22 was brought in by TriNet, TriNet would've been

   23 responsible.        But post-TriNet, I think, as I mentioned,

   24 we were trying to negotiate a continuation with United

   25 that never came to fruition.
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     1        Q.     And do you have a contract with TriNet that's

     2 laid out all these responsibilities?

     3        A.     I believe we do.

     4        Q.     And I'm going to ask that you provide that

     5 contract to your attorney so they can produce it to the

     6 -- to us.

     7              THE WITNESS:      Mr. Henderson, will you just make

     8       a note of that and send that to myself and --

     9              MR. HENDERSON:        I have a note of it.

   10               THE WITNESS:      Thank you.

   11                BY MR. WOOD:

   12         Q.     And I'm showing you the United plan

   13 application that we received through discovery.                  And do

   14 you recognize this document?

   15         A.     No.

   16               MR. WOOD:     Okay.     And this is Plaintiff's 13.

   17        I'm not sure if I said that or not.

   18                (EXHIBIT 13 MARKED FOR IDENTIFICATION)

   19                BY MR. WOOD:

   20         Q.     Here the First Choice Medical Group of Brevard

   21 is listed as the business.             Is that --

   22         A.     Uh-huh.

   23         Q.     -- what you recall being the sponsor of this

   24 group?

   25         A.     No.   Well, it is the largest employer in the
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     1 subsidiaries and parent company, but I -- I -- I was not

     2 aware -- I was not aware that they applied for it by

     3 itself.

     4        Q.     Okay.    And here we've listed 45 eligible

     5 employees, which is, you know, those working more

     6               than ---

     7        A.     Yeah.    So --

     8        Q.     -- 30 hours a week.

     9        A.     -- we were on the downside now, so we went

   10 from 54 to 45.

   11         Q.     And this would've included employees

   12 throughout the organization, including --

   13         A.     That's right.

   14         Q.     -- the Medical Group, the parent company, the

   15 subsidiaries.

   16         A.     That's correct.

   17         Q.     And this group plan was intended to cover all

   18 of them together, right?

   19         A.     Yes.

   20         Q.     And you mentioned Rubilinda Rosado.             She was

   21 in HR, correct?

   22         A.     She was in HR and worked with Gillian Lee in

   23 -- in that -- in human resources --

   24         Q.     And --

   25         A.     -- together.
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                                        1446
     1        Q.     -- the -- Gillian Lee and Ruby, they provided

     2 HR services to all of the entities, correct?

     3        A.     That's correct.

     4        Q.     Now this plan, the UnitedHealthcare plan, we

     5 don't need to go through the entire contract, but it was

     6 canceled?

     7        A.     Yes.

     8        Q.     And I believe it was -- it was supposed to be

     9 in effect for the month of April of '22.               Is that your

   10 recollection?

   11         A.     Yes.

   12         Q.     Are you aware if there was an employee who

   13 went on medical leave during the month of April due to a

   14 seizure, Ms. Evelyn Bonilla?

   15         A.     No.

   16         Q.     Are you aware of that?

   17         A.     No.

   18         Q.     Okay.    Do you know what happened with her

   19 healthcare coverage?

   20         A.     No.

   21         Q.     Do you know if she received a COBRA notice?

   22         A.     No.

   23         Q.     Do you know if the defendants have a policy of

   24 providing COBRA notices when an employee goes on leave

   25 as opposed to a final termination?
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     1         A.      The company endeavors to be compliant with

     2 laws.        If Ms. Bonilla was due a COBRA notice, and there

     3 was available COBRA, I would assume they sent it to her,

     4 or in this case, if United, as you say -- we got United

     5 again through TriNet.          TriNet terminated us within weeks

     6 because of the rapid decline of financial capability.                   I

     7 don't know the position of United Healthcare and TriNet

     8 as it relates to what you are describing to me, that

     9 United was never effectively in place.               And therefore, I

   10 don't know the technicality around if the policy was

   11 retroactively canceled in full, whether United would

   12 issue a COBRA for it.           So I don't know the answer to any

   13 of that, but that's a possibility.

   14          Q.      Okay.

   15          A.      I -- I just don't recollect those -- those

   16 facts other than I recollect how quickly TriNet pulled

   17 the plug on us.

   18          Q.      And do you know if there was a plan that was

   19 the -- documents that someone could go through to look

   20 to see what their options were to dispute?

   21          A.      Well, we're going to provide you the TriNet

   22 agreement.         I -- I don't know -- I don't -- I haven't

   23 seen and I haven't reviewed any correspondence from

   24 United Healthcare related to that.

   25          Q.      Okay.   Show you what's marked as Plaintiffs'
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     1 14.    This is 12 pages of e-mails between Ms. Penny

     2 Raverish (phonetic) and Ms. Lee and others at the

     3 company, including yourself and Mr. Keller.                Are you

     4 familiar with the communications between Ms. Raverish

     5 and yourself at the end of 2022 and beginning of 2023?

     6               (EXHIBIT 14 MARKED FOR IDENTIFICATION)

     7        A.     Yeah, I can read them.

     8               BY MR. WOOD:

     9        Q.     Okay.

   10         A.     Refresh myself.       I'm not familiar with who

   11 Penny Raverish is, but that wouldn't be unlike, you

   12 know, unusual.

   13         Q.     Let me see.      Here, I'm on page 10, this is a

   14 contractor offer letter.            Do you recall or do you

   15 recognize this letter?

   16         A.     No.     But we were going to all contractors only

   17 because everybody was essentially terminated, because

   18 all the physicians left, and one physician was willing,

   19 was going on his own and willing to sort of JV with us,

   20 which is Dr. Zaidi, who's no -- no longer with us at

   21 all.      And so I know that -- that was obviously going on,

   22 but I -- I'm not aware of the letter.

   23         Q.     The signature at the bottom of the letter, is

   24 that your signature?

   25         A.     It's an electronic signature, yeah.
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     1        Q.     Now I'm looking at the -- you know, when I

     2 talk about electronic signatures, typically it's, you

     3 know, typed maybe a slash --

     4        A.     It's a copy of my signature.

     5        Q.     Okay.

     6        A.     Tell me what she's doing.          I knew we were

     7 offering 1099 for anybody who wanted to work hourly, if

     8 they want.       And I said, fine.       But you asked me

     9 specifically if I drafted or I reviewed or approved this

   10 letter, and the answer is no.

   11         Q.     Who would've drafted this and put your

   12 signature on it?

   13         A.     Probably Gillian, maybe Phil looked at it.

   14         Q.     And this was sent on January 6, 2023.             Do you

   15 recall directing it to be sent?

   16         A.     No.     I could read this.

   17         Q.     Sure.

   18         A.     "Nothing would change.         We're trying to raise

   19 capital make payments so no corporate mandate to treat

   20 anyone differently than other employees past or present.

   21 We keep talking to investors.             I understand, but there's

   22 no change in what we're trying to accomplish."                  True

   23 statement.

   24         Q.     Now, this was an e-mail from you, right?

   25         A.     Uh-huh.
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     1        Q.     That's a yes?

     2        A.     Which one?      The one that I just read.         Yes.

     3        Q.     Yes.    Okay.    This is -- it says, "sent from my

     4 iPhone."      You maintain your e-mail address or e-mail

     5 account on your iPhone?

     6        A.     Yes.

     7        Q.     And you sent this in response to an e-mail

     8 from Ms. Raverish, right?

     9        A.     I don't know.      I'd have to look and see.          I

   10 thought she sent me a -- a direct e-mail.                 I don't think

   11 that came to me.         I think she asked me if there was a

   12 status change above what's going on, and I said,

   13 "nothing has changed."           The -- I don't know who she sent

   14 the good afternoon piece to.             No, she -- she might have

   15 sent it to me, but I -- I don't recall it.

   16         Q.     If there was an e-mail that -- or she e-mailed

   17 it to you, or your e-mail address is on there, we could

   18 assume that you received it, right?

   19         A.     Yeah.    Yes.

   20         Q.     That the -- was sent to you?

   21         A.     Yes.

   22         Q.     Okay.    And this 1099 contract agreement, that

   23 was terminating a W-2 employment and turning her into a

   24 1099 contractor, right?

   25         A.     Well, yeah.      I mean, the reality was there was
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     1 no full-time employment for anybody because we had

     2 diminished services.         And in fact, our last physician,

     3 Dr. Zaidi, as I mentioned, went to his own practice and

     4 we were going to lease him some space and do some

     5 revenue sharing as legally allowed under, you know,

     6 certain laws, like Stark laws.            And that if somebody

     7 wanted to be employed with Dr. Zaidi, we were able to

     8 offer hourly employment in our revenue sharing agreement

     9 and things like that.          So that's why it was offered.

   10         Q.     Right.    Going back to the offer letter, it

   11 does state here, dated January 8, 2023, "Your employment

   12 with First Choice Medical Group of Brevard LLC d/b/a

   13 Emerge Healthcare Group, LLC is terminated."                  And then

   14 effective the following day, there's an offer for a 10

   15 -- 1099 independent contractor agreement?

   16         A.     Yes, I could read that.         Yeah.

   17         Q.     And this was being offered -- this is signed

   18 by you, First Choice Healthcare Solutions and its

   19 subsidiaries, right?

   20         A.     This was, you know, what we discussed as a go

   21 for -- forward plan for the company with limited

   22 operations.        And this accurately depicts what we were

   23 offering employees at the time when we were essentially

   24 ceasing medical service operations on a full-time basis.

   25         Q.     Her job didn't change at all, though, right?
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     1 The job duties, what she was expecting.

     2        A.     I don't know what her job duties are, but they

     3 would be whatever was being offered to her was to -- on

     4 a part-time basis, as needed, when she's available.                   Not

     5 -- it's not exclusive, she can agree to work for, in

     6 this case I'm just assuming it's Dr. Zaidi, as a medical

     7 assistant.

     8        Q.     Moving on to Plaintiffs' 15, I think.             This is

     9 a picture of a chart that's been provided as part of our

   10 ongoing communications on all of these cases.                  This was

   11 sent over to your attorneys in -- back in May.                  Have you

   12 had a chance to review this chart or something similar?

   13                (EXHIBIT 15 MARKED FOR IDENTIFICATION)

   14         A.     I've seen the chart.        You know, this is more

   15 than wages.        This, you know, some of this, I think had

   16 to do with some punitive damage being sought and, you

   17 know, other things related to bills maybe that might not

   18 have been covered by insurance in addition to

   19 reimbursement for premiums that were deducted.

   20                BY MR. WOOD:

   21         Q.     Sure.

   22         A.     But I have not seen any of the backup and I've

   23 not done any calculations myself, no.

   24         Q.     Well, I wanted to go through because it is

   25 itemized for instance, one column is minimum wage.                   The
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     1 other is minimum wage liquidated damages.

     2        A.     Right.

     3        Q.     Do you dispute that these employees are owed

     4 minimum wage?

     5              MR. HENDERSON:      Objection.      Form.

     6        A.     I don't dispute that they're owed their hourly

     7 wages.      So -- but I have not done the investigation

     8 research to know if these numbers are accurate.

     9               BY MR. WOOD:

   10         Q.     Okay.

   11         A.     And I don't know if there's been any crediting

   12 from DOL.

   13         Q.     There's -- I can tell you, can represent to

   14 you a few things.          One, that these figures come from

   15 your own records.          And when I say, "your own," I mean,

   16 the records produced.

   17         A.     I'm -- I'm sure Phil -- Phil and -- and his

   18 finance team put together accurate -- accurate numbers.

   19         Q.     Okay.    And the DOL is not included in here

   20 because the DOL is holding onto those funds.

   21         A.     Okay.

   22         Q.     My understanding is that the Treasury may or

   23 may not have them and they're going back to Emerge.

   24         A.     We have not received them.

   25         Q.     Now we've received time records as part of
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     1 this process.         We've received payroll records as part of

     2 this process.         And those time records show that time was

     3 worked by these employees, and the pay records show that

     4 there's not been payment for those.              I don't think

     5 that's disputed by you, is it?

     6         A.    Can you just repeat that question one more

     7 time?

     8         Q.    Sure.    As part of the process, you've produced

     9 time records, right?

   10          A.    Yep.

   11          Q.    And you've also produced pay records, correct?

   12          A.    Yep.

   13          Q.    And those pay records show, when you look at

   14 them with the time records, that there's time that's

   15 been worked by these employees that they were not

   16 compensated for; would you agree?

   17          A.    Yes.

   18          Q.    Okay.    And so you don't dispute that there's

   19 hours worked by the employees that they were not paid

   20 for, correct?

   21          A.    Yes.     Subject to whatever funds would be

   22 applied and being held by the DOL, yes.

   23          Q.    Right.    You've talked about punitives, and I

   24 have a feeling, and I'm guessing that when you are

   25 talking about that, you're referring to maybe the
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     1 liquidated damages; is that right?

     2        A.     Well, I can't see what totals other than the

     3 COBRA notice damage.         I can't see in Bonilla and --

     4        Q.     Sure.

     5        A.     -- some of the other people, what the far

     6 right column there, because the little boxes are in the

     7 way.

     8        Q.     I can get -- I can if you can't, I'm -- James,

     9 are you seeing everything or --

   10               MR. HENDERSON:      I'm seeing --

   11         A.     I think there's one more column.            Is there a

   12 column after COBRA notice?

   13                BY MR. WOOD:

   14         Q.     There's a -- there's a COBRA notice damage and

   15 then denied benefits is the far right.

   16         A.     Yeah, I don't see the denied benefits.

   17         Q.     Okay.    That might be an issue on your end,

   18 James, do you see it?

   19               MR. HENDERSON:      I have it on mine.

   20         A.     Let me see if I can -- I can hide, I can hide.

   21 Okay, now I can.

   22                BY MR. WOOD:

   23         Q.     Okay.

   24         A.     Okay.

   25         Q.     So -- and the far right chart says,
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     1 "deductions, COBRA notice, damages, denied benefits."

     2 The deductions, those are referring to the deductions

     3 from the paychecks during a time frame where there was

     4 no insurance.         You don't dispute the deductions were

     5 made and there was no insurance during a certain time

     6 frame, right?

     7        A.     No.

     8        Q.     Okay.     And I'm sure you would want to check

     9 for yourself, but these figures here, they've been

   10 calculated for the amount of money deducted when there

   11 was no insurance.          Do you dispute or have reason to

   12 believe that these figures are inaccurate in any way?

   13               MR. HENDERSON:      Object to form.

   14         A.     No, I would not have any reason to feel that

   15 these are inaccurate.

   16                BY MR. WOOD:

   17         Q.     Okay.     The far right side are denied benefits.

   18 And those damages would've been when an employee went to

   19 receive care and it was billed against their insurance,

   20 but it turns out that there was no coverage during the

   21 time period.

   22         A.     Yep.

   23         Q.     Okay.     These figures here are calculated with

   24 figures with the documents that we do have in our

   25 possession.          We could produce them to you if you want,
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                                        1457
     1 but you have no reason to believe that employees didn't

     2 go get care that were denied because --

     3        A.     No, we have no reason to believe that.              What

     4 we do know is that, you know, these numbers are the

     5 billed numbers, which are generally four times higher

     6 than Medicare.        And during mediation, we felt that well,

     7 we -- we would take the affirmative action.

     8        Q.     Lance, I just want to stop you.            In terms of

     9 discussions that were taking place in mediation

   10 involving your attorney or even with the other side,

   11 they could follow --

   12         A.     With the other side, yeah.

   13         Q.     -- certain privileges regarding statements

   14 made during mediation.

   15         A.     So I would -- I would just say that those

   16 typically are four times as high as the -- the

   17 collectible number.

   18         Q.     Okay.    And I will represent to you that the

   19 $35-36,000 figure for Ms. Pineiro (phonetic), that is a

   20 total amount billed.          And we've been -- we've been made

   21 it very clear that the out-of-pocket expense is a

   22 different figure.          The issue, of course, is that

   23 Medicare became the primary insurer as opposed to the

   24 secondary insurer.          And we include the full amount

   25 because that is an issue.
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                                        1458
     1        A.     I'm just disputing that those numbers, we --

     2 nobody today until somebody takes an affirmative action.

     3 My only point is that those are accurate.

     4        Q.     Okay.    And at the very bottom, Ms. Bonilla

     5 (phonetic), it's $121,000, the largest figure of them

     6 all, that pertains to a brain surgery that was done in

     7 Orlando, along with a few other items, but that is the

     8 amount that she's being charged out of her pocket.                  I

     9 understand what you're saying.            You know, you bill 400,

   10 you collect a 100, but this is the amount that's

   11 actually being charged to these patients.

   12         A.     I -- I -- I --

   13               MR. HENDERSON:      Object to form.

   14                BY MR. WOOD:

   15         Q.     Okay.    The COBRA notice damages, that is a

   16 calculation based off of a statute, I think it's $110 a

   17 day multiplied by the number of days between when the

   18 notice should have occurred and when it did -- and did

   19 time this was generated.            That I imagine that we would

   20 need to see the notice to see when damages are cut off.

   21 And I would ask that you, after the deposition, go back

   22 to your team and try to find that notice and show that

   23 it was transmitted to Ms. Bonilla or any others, okay?

   24         A.     Okay.

   25         Q.     Throughout your e-mails to the employees, do
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     1 you recall stating that you would pay for any bank

     2 charges as a result of not making payroll?

     3        A.      I think that was something that Gillian had

     4 told people or Julie.

     5        Q.      Okay.

     6        A.      And it might have been included in one of the

     7 memos to employees.

     8        Q.      Okay.   And in fact of the employees that I do

     9 represent, there is a single person who had a $210 bank

   10 charge as a result of not getting paid.                You're not

   11 disputing that you'll pay that, correct?

   12                MR. HENDERSON:     Object to form.

   13         A.      Subject to verification, I'm not disputing

   14 that your client may have incurred an overdraft fee of

   15 210.

   16                 BY MR. WOOD:

   17         Q.      Okay.   And provided that we have a document

   18 that shows the bank charged this $210, then you would

   19 not dispute that amount?

   20                MR. HENDERSON:     Object to form.

   21         A.      It's not that I won't dispute it, I would -- I

   22 would agree that during periods of time during the --

   23 the payroll difficulties, there were times we paid fees

   24 for employees that came to us that incurred overdraft

   25 fees.        Whether we would dispute that in litigation now
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     1 or not, that would be something that the company would

     2 -- and its -- its personnel, existing officers now,

     3 would have to discuss with Counsel.

     4               BY MR. WOOD:

     5        Q.     In late 2022, many of the employees had

     6 already left.       But you still had a few working for you

     7 and there were payroll payments made at that time; is

     8 that right? Some?

     9        A.     There might have been some pay -- payroll

   10 payments being made.          I can't tell you with any

   11 specificity who or what, but --

   12         Q.     And the money that was paid, who made the

   13 determination who to pay and how much?

   14         A.     Well, I assume nobody.         It -- it would be

   15 probably our CFO Phil Keller and his finance team.                   I

   16 don't know if it was on an hourly contract basis that we

   17 went to or it was something else.              I don't -- I don't

   18 know.

   19               MR. WOOD:     Right.      I need a few minutes.       Let's

   20        say come back at 1:30.

   21               THE WITNESS:      Okay.

   22               MR. HENDERSON:        Good.   Because if you -- well,

   23        I'll ask you when you get off the record.

   24               MR. WOOD:     Okay.

   25               THE REPORTER:      I'll get us off real quick.
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     1       Hold on.

     2               (OFF THE RECORD)

     3              THE REPORTER:      Okay.    Back on record.

     4               BY MR. WOOD:

     5        Q.     All right.     We are back and I got a few more

     6 things just to clarify.          The bank accounts of the

     7 companies, they have persons who are designated as

     8 having authority to sign on behalf of the company.                  As

     9 CEO, you were a signer for the company's bank accounts,

   10 right?

   11         A.     For a period of time I -- I wasn't on TD until

   12 later on, but on Regions, when we opened the Regions,

   13 the answer is yes.          And I think we opened another one

   14 locally now because Regions has closed our accounts or

   15 is in the process of closing them, and I think only Phil

   16 is a signer on those.           I have I haven't been to

   17 Melbourne in probably eight months.

   18         Q.     The TD Bank, that would've been opened during

   19 the bankruptcy proceedings, right?

   20         A.     That's correct.       We closed after.

   21         Q.     Okay.    So after the plan was confirmed, you

   22 went to Regions?

   23         A.     No.     Well, we wanted to try to open at TD, but

   24 they really didn't want to have us.               So we went to

   25 Regions, yes.
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     1        Q.     Okay.    And so for the timeframe of say

     2 November of '21 through 2022, you were at Regions and

     3 you were a signer?

     4        A.     To Regions I was, yes.

     5        Q.     Okay.

     6        A.     Along with, you know, several other people.

     7        Q.     And we had discussed you personally

     8 guaranteeing debt of the companies, did Phil guarantee

     9 any debt of the company?

   10         A.     He has no -- he had no capability.             He didn't

   11 have the relationships.

   12         Q.     Okay.    Were you the only one personally

   13 guaranteeing the debts?

   14         A.     At that time.      I'm indemnified by the company

   15 and so I felt comfortable in the long run to do it.

   16         Q.     And when you hired physicians, I think you

   17 testified earlier that you were the one that would be

   18 making those hiring decisions and actually hiring them?

   19         A.     No -- no.     So the way it worked was, they were

   20 recruited through a recruiter, they came in for

   21 interviews.        We interviewed them as groups.           We

   22 discussed their capabilities and what people thought.

   23 And we kind of had our hands up on yes, no, maybe yes.

   24 And then we would give them a standard employment

   25 agreement.        So we -- we generally judged whether we were
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     1 going to offer somebody employment based on a, at that

     2 time, a consensus of sort of my leadership team, if you

     3 will, when we were operating.

     4        Q.     And you put together that leadership team,

     5 right?

     6        A.     No.     I walked into the company.         I didn't know

     7 anything.      It was a -- a leadership team from before

     8 myself.

     9        Q.     Okay.

   10         A.     I just -- I was the new guy walking into it.

   11         Q.     Did the team change over time?

   12         A.     Only when it was no longer needed and went to

   13 zero.

   14         Q.     When was that?

   15         A.     Probably towards the end of 20 -- you know,

   16 third quarter of '22, when operations were being

   17 shuttered in most instances and we were cutting down the

   18 workforce for lack of capital.

   19         Q.     Earlier you had stated that you can contested

   20 the answer that you made the decision to not pay wages.

   21 Who made the decision?

   22         A.     Paychex and the PEO.        TriNet.

   23         Q.     And as far as I can understand, you're saying

   24 that they did not pay it because they didn't -- you

   25 didn't you didn't have the money to pay the employees,
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     1 right?

     2        A.     Well, it has nothing to do with me. The

     3 company did not have the money.

     4        Q.     Okay.

     5        A.     Okay.

     6        Q.     Presumably, you were aware of the finances of

     7 the company and saw that, you know, hey, we -- we're

     8 going to miss payroll this next pay period, right?

     9        A.     Typically, what happened is we went into

   10 meetings with doctors since, you know, these physicians

   11 were burning the capital and they -- to see what was

   12 going on and whether we can collect.               We talk with

   13 investors.        Sometimes we got money, other times they

   14 were like, "Let's file the S1," and are these doctors

   15 that were going to turn things around?                Then we began

   16 the cutting process of terminating these physicians.

   17 Some of them left voluntarily because they didn't want

   18 to have recapture of funds based on their contracts. And

   19 essentially at that time, if we lost a particular doctor

   20 through termination or resignation, there's three or

   21 four people around them that are no longer necessary.

   22 Those people, you know, would be terminated or some --

   23 in some cases they would say, "Is there something else I

   24 can do?"       And in some cases, you know, they -- they were

   25 given part-time or something to do.               Most cases they
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     1 left and -- for lack of work.            But everybody knew.          I

     2 think we were very transparent.             Everybody knew the

     3 financial circumstances.           Even before I got there, I

     4 mean, they were working for a company that had -- had

     5 been in the throes right away of being converted to a

     6 Chapter 7 liquidation, but either had no jobs to go to

     7 and had hoped that it could be saved or not.                 And we

     8 managed to save it through bankruptcy, but the business,

     9 whether it was lack of reputation and reputational

   10 damage from what took place from Mr. -- Mr. Romandetti's

   11 conduct or whatever.          Dominance of the other players,

   12 after losing all the revenue and all the support, you

   13 know, Stewart was a big shareholder, and not getting

   14 referrals anymore from Stewart and things like that. The

   15 business was unable to continue as an orthopedic

   16 business.       But nobody made decisions like, "Oh, let's

   17 not pay employees and do something else."                 So it was --

   18 it was just a -- a collapse of business.

   19         Q.     But the employees were allowed to continue to

   20 work, even though the company knew that it --

   21         A.     On -- on a -- on a voluntary basis.             On the

   22 understanding that there were no funds to pay.                  Not to

   23 say that we weren't accruing or in two weeks when money

   24 came in, pay payroll.           But everybody was very aware of

   25 the financial circumstances.             We had in-person,
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     1 impromptu meetings and things like that to know exactly

     2 where we sit.       Everybody knew the business plan cannot

     3 proceed without audits, which they knew we had to fire

     4 auditors.       It was difficulties in the audits.            And

     5 without the acquisition that you mentioned in our

     6 PowerPoint, Coastal Pain, the business would be

     7 liquidated unless there was a radical change in business

     8 plan and new auditors and some new investment.                 And --

     9 and everybody knew that.

   10               MR. WOOD:     I have nothing further at the

   11        moment.     Obviously, we've discussed that there's

   12        documents I don't have that I would like to go

   13        through probably to authenticate, if necessary.                 And

   14        so we could restart the deposition at a future date

   15        after that's done.        But at the moment, unless you

   16        have anything to ask James, I'm finished.

   17               MR. HENDERSON:        I'm not going to be asking any

   18        questions.

   19               MR. WOOD:     Okay.     We will order.

   20               THE REPORTER:      Okay.

   21               MR. HENDERSON:        And we'll read.

   22               THE REPORTER:      Would you like me to send the

   23        read through you, Mr. Henderson?

   24               MR. HENDERSON:        Yes, please.    My office.

   25               THE REPORTER:      Okay.    Do you want to order a
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     1       copy as well?

     2              MR. HENDERSON:      Yes.

     3              THE WITNESS:      Hey, Jim?     Yes.    I sent you a --

     4       a note.     I don't know if you had my number.

     5              THE REPORTER:      I'm taking this off record. Hold

     6       on one second.

     7               (DEPOSITION CONCLUDED AT 1:39 P.M.)

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     1                                 CERTIFICATE OF OATH

     2

     3 STATE OF FLORIDA

     4 COUNTY OF ORANGE

     5

     6        I, the undersigned, certify that the witness in the

     7 foregoing transcript personally appeared before me and

     8 was duly sworn.

     9

   10 Identification:         Produced Identification

   11

   12

   13

   14

   15                      ______________________________

   16                      Jessica Ethridge

   17                      Court Reporter, Notary Public

   18                      State of Florida

   19                      Commission Expires: 09/21/2026

   20                      Commission Number:        #HH 314140

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     1                         C E R T I F I C A T E

     2

     3 STATE OF FLORIDA)

     4 COUNTY OF ORANGE)

     5

     6        I, Jessica Ethridge, Court Reporter and Notary

     7 Public for the State of Florida at Large, do hereby

     8 certify that I was authorized to and did report the

     9 foregoing proceeding, and that said transcript is a true

   10 record of the said proceeding.

   11

   12         I FURTHER CERTIFY that I am not of counsel for,

   13 related to, or employed by any of the parties or

   14 attorneys involved herein, nor am I financially

   15 interested in said action.

   16

   17 Submitted on: June 26, 2023.

   18

   19

   20

   21

   22                      ______________________________

   23                      Jessica Ethridge

   24                      Court Reporter, Notary Public

   25
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     1                                         ERRATA

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     3 PAGE         LINE                           CHANGE        REASON

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   16 I have read the entire transcript of my deposition taken

   17 in the captioned matter or the same has been read to

   18 me.I request that the following changes be entered upon

   19 the record for the reasons indicated. I have signed my

   20 name to the Errata Sheet and authorize you to attach the

   21 changes to the original transcript.

   22

   23

   24 ______________________               _________________________

   25 Date                                 NAME
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                                                                                                                   Toll Free 855-MYDEPOS



June 26, 2023

James Henderson
Frese Whitehead & Anderson, P.A.,
2200 Front Street
Suite 301
Melbourne, FL 32901

RE:      Deposition of LANCE FRIEDMAN taken on 6/13/2023
         J. Decarlo; M. Pineiro; K. Goude; et al v. Emerge Healthcare Group, LLC; et al

Dear Mr. Henderson,

                        IMPORTANT NOTICE FOR DEPOSITION TRANSCRIPT READ AND SIGN
            It is suggested that the review of this transcript be completed within 30 days of your receipt of this letter,
                                          as considered reasonable under Federal Rules*.

 x      Attorney - Copy of Transcript Enclosed: Signature of the Deponent is required. Please have the deponent
make any corrections/changes necessary on the Errata Sheet ONLY, sign name on the form where indicated. Please
return ONLY the original signed Errata Sheet to our offices within 30 days from the date of this memorandum. If you have
any questions, please call our offices.

         Attorney - No Copy Ordered: Since you did not request a copy of the transcript, it will be necessary for the
Deponent to call our offices to arrange for an appointment to read and sign the transcript of the Deposition within 30 days
of this memorandum.

         Deponent: At the time of your deposition, you did not waive your right to read and sign the transcript of your
testimony, therefore, attached please find a copy of the transcript and Errata Sheet. Please read the transcript, make any
corrections necessary on the Errata Sheet ONLY, sign the bottom of the Errata Sheet, and return it within 30 days from the
date of this memorandum. Please call our offices if you have any questions.

        Deponent: At the time of your deposition, you did not waive your right to read and sign the transcript of your
testimony, therefore, it is necessary for you to come to our offices to read and sign same. Please call Milestone Reporting
Company to arrange for an appointment at your earliest convenience.

        The attached executed copies of the Errata Sheet(s) are sent to you for your files. If you have any questions,
please call our offices.

Thank you for your attention to this matter.

No. 272342


Waiver:
I, LANCE FRIEDMAN, hereby waive the reading and signing of my deposition transcript.

__________________________________________                                                        _________________
Deponent Signature                                                                                Date

*Federal Civil Procedure Rule 30 (e) / Florida Civil Procedure Role 1.310 (e)




400 North Ashley Drive, Suite 2600                          315 East Robinson Street, Suite 510                 4651 Salisbury Road, 4th Floor
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